PagelD 7 Filed 04/03/23 Page 1of 65

James Stephenson, Clerk & Master
Crockett Co, Chancery Court
1 South Bells St.. Suite $
Alamo, TN 38001
(731)696-5458

Cost Bills
4/3/2023
Carr Allison
In the case of: Olympic Steakhouse vs Western World
Case Number: 17CH1-2023-CH-10852
# of Last Paid Fee Total Total
Fee Fees Due Date Date Amount Assessed Paid Total Due
Copy Fee 1 $52.00 $52.00 $0.00 $52.00
Totals: $52.00 $0.00 $52.00

Sworn to before me the 3rd April, 2023.

Pres onc Wepnty . Clerk

, D.C.

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Case 1:23-cv-02191-JDB-Jay Document 1-1 Filed 04/03/2 Page 2 of 65
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Department of
Commerce &
=. Insurance

March 07, 2023

Western World Ins. Co. Certified Mail

300 Kimbail' Dr. Ste 500 ~~ Return Receipt Requesied -
Parsippany, NJ 07054 7020 1290 0001 6213 1582
NAIC # 13196 Cashier # 230685

Re: Olympic Steakhouse V. Western World Ins. Co.
Docket # 10852

To Whom it May Concern

Pursuant to Tennessee Code Annotated §56-2-504 or § 56-2-506, the Department of
Commerce and Insurance was served March 03, 2023, on your behalf in connection with the
above-styled proceeding. Documentation relating to the subject is herein enclosed.

Designated Agent
Service of Process

Enclosures

_.ce: Chancery Court Clerk
Crockett County
1S Bells St., Ste 5
Alamo, Tn 38001

ws

State of Tennessee, Department of Commerce & Insurance
500 James Robertson Parkway, Service of Process - 10th Floor, Nashville, TN 37243

Service. Process@tn.gov; 615-532-5260

Case 1:23-cv-02191-JDB-jay Documenti1-1_ Filed 04/03/23 Page 3 of 65
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STATE OF TENNESSEE Case Number
CIVIL SUMMONS LO%532

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| Served On: Wester r\ Worle Ins wrance Group : NA LC Gode- 13196 | -
| 300 Kimbal] Drive, Suite £00, Parsippany, NJ 0705 4 1

You are hereby summoned to defend a civil action filed against you in Crance tr Court Crockesgounty. Tennessee. Your defense

must be made within thirty (30) days from the date this summons is served upon you, You are directed to file your defense with the clerk of the court
and send a copy to the plaintiff's attorney at the address listed below. If you fail to defend this action b
be rendered against vou for the relief sought in the complaint.

Issued: Oa} ay | ao a3
Attorney for Plaintiff: Dato A. Berk ty

(233 ~kynrSield RD, $e 226 Memphis, TN 39/19

NOTICE OF PERSONAL PROPERTY EXEMPTION
TO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10,000) personal property exemption as well as a homestead exemption
from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon your age and the other factors which are
listed in TCA §26-2-301. Ifa judgment should be entered against you in this action and you wish to claim property as exempt. you must file a
written list. under oath, of the items you wish to claim as exempt with the clerk of the court. The list may be filed at any time and may be changed by
you thereafter as necessary: however. unless it is filed before the judgment becomes final. it will not be effective as to any execution or garnishment
issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed: these include items of necessary
wearing apparel (clothing) for your self and your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family
Bible, and school books. Should any of these items be seized you would have the right to recover them, If you do not understand vour exemption
right or how to execute it, you may wish to seek the counsel of a lawyer. Please state file number on list.

ie required date, judgment by default may

/ Deputy Clery - ! a

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County

CERTIFICATION (IF APPLICABLE)

James Phepheasn Chencergir of Crocke:
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Date: 02)24] A033 _

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Date: By:
Please Print: Officer, Title |
| Ageney Address Signature meee Stee eee _|
| RETURN ON SERVICE OF SUMMONS BY MAIL. [hereby certify and return that on _ ___. I sent postage
| prepaid, by registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint |
in the above styled case, to the defendant ___ . On _ T received the return receipt. |
which had been signed by on - . The return receipt is attached to this original

summons to be filed by the Court Clerk.

|
Date: |
Notary Public / Deputy Clerk (Comm. Expires ) |
Signature of Plaintiff Plaintiff's Attorney (or Person Authorized to Serve Process)
(Attach return receipt on back) ee
ADA: If you need assistance or accommodations because of a disability, please call _ __. ADA Coordinator, at _

Rev. 805-10

736-696-5458

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STATE OF TENNESSEE Case Number
CIVIL SUMMONS lOS5a

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| Served On CARR- Alli & N\acket Street Suite 1220

| OFFICER'S RETURN: Please execute this summons and thake yoy returnyAhin ninety (90) days of issuance as PIQRided=ae lw

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_ I certify that I have served this summons together with the complaint as follows: (b NVR, perner l ae ! i
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| Date: ee 3 - &b . £3 _ By:

Chattono TN 3740 oe |

You are hereby summoned to defend a civil action filed against you in Chancery Court C&ekes 1 ouniy Tennessee. Your defense
must be made within thirty (30) days from the date this summons is served upon you” You are directed to file your defense with the clerk of the court
and send a copy to the plaintiff's attorney at the address listed below. If you fail to defend this action by the required date, judgment by default may
be rendered against vou for the relief sought in the complaint.

Issued: Oa.| AY | 4023

Drews Berkle. demphis, TN 38119

NOTICE OF PERSONAL PROPERTY EXEMPTION
lO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10.900) personal property exemption as well as a homestead exemption
from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon your age and the other factors Which are
listed in TCA §26-2-301, Ifa judgment should be entered against you in this action and you wish to claim property as exempt. you must file a
Written list. under oath, of the items you wish to claim as exempt with the clerk of the court. The list may be filed at any time and inay be changed by
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issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed: these include items of necessary
wearing apparel (clothing) for your self and your family and trunks or other receptacles necessary to contain such apparel, family portraits. the family
Bible. and school books. Should any of these items be seized you would have the right to recover them. If you do not understand your exemption
right or how to execute it, you may wish to seek the counsel of a lawyer. Please state file number on list.

Chances Clerk, focke2+_ County
CERTIFICATION (IF APPLICABLE)
ewnae: henson Chancenserk of CroeKett County do cerjify this to be a true and correct copy of the original summons

issued in this cdse, /

Attorney for Plaintiff:

Date: Oajay} AAD = wrt
" : Oferk / Deputy Clerk/ J = o> <r>

L co (lube sie Please

Ageney Address Signature : 7 amt

RETURN ON SERVICE OF SUMMONS BY MAIL: | hereby certify and return that on I sent postage
prepaid, by registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint
in the above styled case, to the defendant ee _. On_- ___ I] received the return receipt,
which had been signed by on . The return receipt is attached to this original

summons to be filed by the Court Clerk.

Date:
Notary Public / Deputy Clerk (Comm. Expires )
Signature of Plaintiff Plaintiff's Attorney (or Person Authorized to Ser e Process)
(Attach return receipt on back) ss
ADA: If you need assistance or accommodations because ofa disability, please call — ADA Coordinator, at

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736-696-5458

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Case Number

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‘Served On: OP eve, Na : feck lA LLC,
[ 441 New Hoy 9b vse se 5,363, Fan, 37064

You are hereby summoned to defend a civil action filed against you iQnane 4, Court Crockereouniy Tennessee. Your defense

must be made within thirty (30) days from the date this summons is served upon yo ae ou are directed to file your defense w ith the clerk of the court
and send a copy to the plaintiff's attorney at the address listed below. If you fail to defend this action by the required date, judgment by default may
be rendered against you for the relief sought in the complaint.

Issued: OA” | ay aca3 _

Attorney for Plaintiff: D r erkle 2
~ aphis: TN 39119
NOTICE OF PERSONAL PROPERTY EXEMPTION
TO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10,000 ) personal property exemption as well as a homestead exemption
from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon your age and the other factors which are
listed in TCA §26-2-301. Ifa judgment should be entered against you in this action and you Wish to claim properly as exempt, vou must file a
written list. under oath, of the items you wish to claim as exempt with the clerk of the court. The list may be filed at any time and n lay be changed bs
you thereafter as necessary: however, unless it is filed 1 before the judgment becomes final. it will not be effective as 10 any execution or garnishment
issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed: 1; these include items of necessary
Wearing apparel (clothing) for your self and your family and trunks or other receptacles necessary to contain such apparel. family portraits, the family
Bible, and school books, Should any of these items be seized you would have the right to recover them, If you do not understand your exemption
right or how to execute it, you may wish to seek the counsel of a lawyer, Please state file number on list.

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issued in this case, =

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| wees ae B= \- 3-AS Laurie Chamness pe) eo |

summons to be filed by the Court Clerk.

Williamson County Sheriff's lease Print: Officer, Title Upo:

| 408 Century Court

| Agency Address Fran 37064 Signature ve |

| RETURN ON SERVICE OF SUMMONS BY MAIL: I hereby certify and return that on _____.Isent postase |

| prepaid, by registered return receipt mail or certified return receipt mail, a certified copy of the su summons and a copy of the complaint |
in the above styled case, to the defendant _ —. On ee | received the return receipt,

| which had been signed by on The return re receipt is attached to this original |

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| Date:
Notary Public / Deputy Clerk (Comm. Expires
| Signature of Plaintiff Plaintiff's Attorney (or Person Author ized to Serve Process)
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ADA: If vou need assistance or accommodations because of a disability, please call __ _ grdlinator, eat

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736-696-5458

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| UNITED STATES
Bd POSTAL SERVICE.

ALAMO
83 E PARK ST
ALAMO, TN 38001-1795
(800) 275-8777

02/27/2023 08:59 AM

Preduct Qiy Unit Price
Price

Priority Mai l® 1 $10.55

Nashville, TN 37243

Weight: 1 lb 1.20 oz

Expected Delivery Date
Wed 03/01/2023

Tracking #:
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Priority Mail@ | $10.05

Franklin, TN 37064
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Wed 03/01/2023
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Insurance $0.00

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Chattanooga, TN 37402
Weight: 1 Ib 2.20 oz
Expected Delivery Date
Wed 03/01/2023
Tracking #:
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Insurance $0.00

Up to $100.00 included
Total $10.55
Grand Jotal: $31.15
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Change -$8 85

Text your tracking number to 28777 (2USPS)
to get the latest status. Standard Message
and Data rates may apply. You may also
visit www.usps.com USPS Tracking or call

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insurance. For infermation on filing an
insurance claim go to
https: //www.usps.com/help/clalms .trtn
or cal] 1-800-222-1811

Praview your Mail
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https: //informeddel ivery.usps.com

All sales final on stamps and postage.
Refunds for guaranteed services only.
Thank you for your business.

Tel] us about your experience.
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WFN: 470072-0516
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Clerk: 02

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Case 1:23-cv-02191-JDB-jay Document1-1 Filed 04/03/23 Page 7 of
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IN THE CHANCERY COURT OF CROCKETT COUNTY, TENNESSEE FOR
THE TWENTY-SIXTH JUDICIAL DISTRICT AT ALAMO

OLYMPIC STEAKHOUSE,

Plaintiff,

Vv Case No./0 88 4

WESTERN WORLD INSURANCE

GROUP, STEVE NASH, and FILED

JS HELD, LLC 2 1.
Defendants, "JAMES STEPHENSON CLERK AND MASTER |

COMPLAINT TO COMPEL APPRAISAL AND FOR OF BREACH CONTRACT

Comes now, Plaintiffs, by and through counsel, and requests this Honorable Court
to select an umpire and order the carrier to comply with the appraisal provision and identify
an impartial appraiser to participate as mandated in the policy appraisal provision; and
would show this Honorable Court the following:

I. Parties and Venue

1. Olympic Steakhouse (“Plaintiff”) is the named insured and owns the insured
premises at 5711 Hwy 412 Bells, Tennessee 38006 in Crockett County, Tennessee.
2. Western World Insurance Group (“Defendant”) NAIC Code 13196, is a foreign
corporation doing business in Tennessee located at 300 Kimball Drive, Suite 500,
Parsippany, New Jersey 07054, and the Commissioner of Insurance is authorized to serve
process by the parties. Defendant is responsible for the actions of JS Held LLC, Steve Nash,
via operation of the doctrines of respondent superior, actual or apparent agency, employer-

employee or master —servant.

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3. JS Held, LLC, is a foreign Tennessee corporation located at 1441 New Hwy 96 W, Ste
2, 202, Franklin, TN 37064 and may be served with process as authorized by Rule of the
Tennessee Rules of Civil Procedure.

4. Steve Nash, of JS Held, LLC, is believed to be an adult resident citizen of Tennessee
whose business address is 1441 New Hwy 96 W, Ste 2, 202, Franklin, TN 37064, and Mr.
Nash may be served with process by any means authorized by Rule of the Tennessee Rules
of Civil Procedure.

5. This court has jurisdiction under Tennessee Common and Statutory Law and by mutual
consent of the parties pursuant to the insurance contractual term of Appraisal.

II. Facts

6. Defendants issued Policy No. NPP8664937 to Plaintiffs providing coverage under
the Special Form for Freeze/Water damage that occurred at the insured location of 5711
Hwy 412 Bells, Tennessee 38006, that was in effect on the date of loss of February 17,
2021, and to which assigned Claim No. 164629, and the relevant policy documents are
attached herewith as Exhibit “1”.
7. Defendants made certain payments towards the damages, but the estimates of
Defendant and Plaintiff's estimate are materially different. See Exhibits “3° and “4”,

8. On March 25, 2021, Defendants adjuster Ludwig Blake, extended coverage for the
roof and other interior and exterior damages due to the covered peril based upon an estimate
written by independent adjuster Casey Newport, and as shown in Exhibit “2-1”.
9. On March 25, 2021, Defendants adjuster Ludwig Blake, extended coverage for the
roof and other interior and exterior damages due to the covered peril supported by an

estimate written by independent adjuster Casey Newport, and as shown in Exhibit “2-1”.

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On November 1, 2021, Mr. Blake misrepresents coverage terms to Plaintiff and their Public
Adjuster on pg. 2. of Exhibit “2-1” under “Facts of This Claim” section on pg. 2. Exhibit
“2-2”, when he states, “On February 24, 2021 you reported damage to the roof on
02/17/2021. Our inspection of the building found no storm or weather-related damage to

the roof”. “Our inspection of the building found no storm or weather related damage to

the roof”, and that “ The roof damaged is due to wear & tear over an extended period of
time, not from this one event. This long-term damage appears to be the result of inadequate

or improper construction of the roofing material and pre-existing damages”. Blake goes

on to list general exclusions in the policy knowing he had previously extended coverage

and payment for the damage to the roof in March of 2021, and that these exclusions could
not apply as “causes of loss” to this claim; and conflated existing “conditions” as “causes

of loss” knowing Plaintiff would incur tremendous expense abating the existing

“conditions” in the already-approved roofing process; and knowing those conditions were

never claimed as “causes of the loss” by Plaintiff, and as shown in Exhibits “2-1; 2-2”; ”,

and Exhibits “4; 1-26” directly refutes Defendants positions on all fronts.

misrepresents policy coverage terms and duties after loss to Plaintiff and Plaintiffs Public

Adjuster on pg. 1. of his supplemental report dated October 27, 2021, by stating that, “the

costs that are anticipated to be part of the claim are submitted for review prior to executing

contracts, To the extent that repair costs proceed on a time and materials basis, we

recommend that that the adjustment team monitor these repairs and that the insured keep

appropriate records. sign in sheets and documentation of these repairs,”, knowing that the

policy does not contain a prerequisite of Plaintiff documenting, supervising, or scheduling

the work of others to make the repairs to his insured premises, and Nash knew about the

Case 1:23-cv-0219 B-jay Documenti1-1 Filed 04/03/23 Page 10 of 65
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previous coverage and payment for the roof seven months prior, but still failed to include
it in his supplemental estimate and at all times relevant knew that the water entered from
the roof and soffit areas damaging the interior insulation and suspended ceiling tiles and
grids that the Defendants had provided him prior to his omissions resulting in a deficient
amount of loss used by the Defendants to wrongfully violate Plaintiff rights under the
policy and deny claim benefits; and after Plaintiffs Public Adjuster submitted clear photo
evidence refuting Defendants position in their entirety. See Exhibits “2-1; 2-2”; ”, and

photo evidence in Exhibits “4; 1-26”

10. Steve Nash of J.S, Held, LLC, misrepresents policy coverage terms and duties after
loss to Plaintiff and Plaintiffs Public Adjuster on pg. 1. of his supplemental report dated
October 27, 2021, by stating that, “the costs that are anticipated to be part of the claim are

submitted for review prior to executing contracts. To the extent that repair costs proceed

on a time and materials basis, we recommend that that the adjustment team monitor these

repairs and that the insured keep appropriate records, sign in sheets and documentation

of these repairs,”, knowing that the policy does not contain a prerequisite of Plaintiff

documenting, supervising, or scheduling the work of others to make the repairs to his
insured premises, and Nash knew about the previous coverage and payment for the roof
seven months prior, but still failed to include it in his supplemental estimate and at all times
relevant knew that the water entered from the roof and soffit areas damaging the interior
insulation and suspended ceiling tiles and grids that the Defendants had provided him prior
to his omissions resulting in a deficient amount of loss used by the Defendants to

wrongfully violate Plaintiff rights under the policy and deny claim benefits; and after

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Case 1:23-cv-0219 B-jay Documenti1-1 Filed 04/03/23 Page 11 of 65
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Plaintiffs Public Adjuster submitted clear photo evidence refuting Defendants position in
their entirety. See Exhibits “2-1; 2-2”; ”, and photo evidence in Exhibits “4; 1-26”.

11. Plaintiff demanded an appraisal in writing on January 27, 2023, and named therein
a competent and impartial appraiser. Exhibit “1”.

12. Plaintiff and their Public Adjuster received a letter from Defendants, through counsel,
on February 9, 2023, acknowledging the demand, but misrepresenting policy coverage and
mandatory compliance terms to Plaintiffs on pgs. 1. And 2., that, “there are both price and
scope differences present between the two estimates. The appraisal provision in the policy
is to resolve differences in the price of the repairs which Western World determined were
covered”, and “Therefore, a full appraisal of the property would not be appropriate at this
point given the coverage issues”; without listing a specific coverage issue as required by
law and knowing that price and scope are appraisable in Tennessee, as shown, in pertinent
part, Exhibits “5” and “6”, where the Tennessee courts determined that Appraisal was
proper because defining the “scope of the work” is inherent in determining the “amount of
loss.”, and Defendants have misinterpreted policy coverage terms and even misinterpret
law in order to violate Plaintiffs rights under the policy and law. See Exhibits “5” and “6”.
12. In the same letter Defendants name Randy Ison, E.V of J.S. Held as their appraiser,
who does not meet the criteria set forth in the insurance contract and is disqualified due to
his fellow employee and employer, Steve Nash of J.S. Held, were involved in the
investigation and partial denial of this claim and have a financial interest therein. See
Exhibit “3”.

13. All conditions precedents for Defendants to identify a impartial appraiser and

choose an umpire have occurred, yet Defendant refuses to comply and the process cannot

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proceed as mandated by the policy. A copy of the letter and the demand are attached
herewith as Exhibits “1” and “4”.
COUNT I COMPEL APPRAISAL AND APPOINT UMPIRE

14. The policy appraisal provision provides as follows:
E. LOSS CONDITIONS

2. Appraisal

If we and you disagree on the value of the property or the amount of loss, either may
make written demand for an appraisal of the loss. In this event, each party will select a
competent and impartial appraiser. The two appraisers will select an umpire. If they
cannot agree, either may request that selection be made by a judge of a court having
jurisdiction. The appraisers will state separately the value of the property and the amount
of loss. If they fail to agree, they will submit their differences to the umpire. A decision
agreed to by any two will be binding. Each party will:

a. Pay its chosen appraiser; and

b, Bear the other expenses of the appraisal and umpire equally.
If there is an appraisal, we will still retain our right to deny the claim. See Exhibit “1”

15. Both parties are entitled to an expeditious appraisal, pursuant to the policy
language, with two competent and impartial appraisers and an impartial umpire, as these
three are essential to an effective and fair appraisal process that mandates mutual
participation.

COUNT II. UMPIRE QUALIFICATIONS
16. Although the policy provision does not outline the criteria to be used in the
umpire selection process “Generally accepted insurance principles dictate only that ‘an
umpire selected to arbitrate a loss should be disinterested, unprejudiced, honest, and
competent. " Brothers v. Generali Us. Branch, No. CIV.A. 1:97-CV-798-MHS, 1997 WL
578681, at *3 (N.D. Ga. July 11, 1997) (quoting 6 Appleman, Insurance Law and Practice
§ 3928, at 554 (1972». The umpire "should be impartial, honest, and competent ....” Corpus

Juris Secundum, Insurance § 1897 (2011) See, e.g., 6 Appleman, Insurance Law and

Practice § 3928, at 554 (1972); Corpus Juris Secundum, Insurance § 1897 (2011).

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17. Petitioner respectfully proposes the well-qualified individuals listed below who have
no business or personal relationships with cither party, and meet the criteria described
herein.

a) Andy Fraraccio — Intrust Claims — CV attached

b) Zach Baker — TN - The David Group - Certified Umpire — CV attached
c) Mary Jo O’Neal —TN/ind. Adj./- Certified Umpire-CV attached.

d) Chris Williamson — TN — Restoration GC — CV attached.

e) David Hilsdon — Lic, Engineer, P.E. TN — CV attached.

18. This Honorable Court is authorized by the mutual consent of the parties’ pursuant to
the policy appraisal provision, to choose an impartial umpire and/or an impartial appraiser,
if necessary, upon either’s request.
COUNT III BREACH OF CONTRACT
19. The Plaintiff incorporates the foregoing allegations as if fully set forth herein.
20. Defendant materially breached the insurance contract by failing to agree to a full
appraisal process upon Plaintiffs proper demand.
21. Defendant materially breached the insurance contract by failing to name an impartial
appraiser pursuant to the policy.
COUNT IV PUNITIVE DAMAGES
22. The Plaintiff incorporates the foregoing allegations as if fully set forth herein.
23. Defendants conduct was reckless in light of the foregoing allegations and entitled
Plaintiff to an award of punitive damages
COUNT V. FRAUDULENT INSURANCE ACT

24, The Plaintiff incorporates the foregoing allegations as if fully set forth herein.

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25. Defendants made false statements and material misrepresentation of facts and policy
coverage terms relating to an insurance claim, and violating the Fraudulent Insurance Act
in their February 9, 2023 letter to an insured and a claims professional / practitioner by
stating, “There are both price and scope differences present between the two estimates.
The appraisal provision in the policy is to resolve differences in the price of the repairs
which Western World determined were covered”, and “Therefore, a full appraisal of the
property would not be appropriate at this point given the coverage issues”, knowing that
price and scope are appraisable in Tennessee and misinterpreting law to Plaintiffs; and that
their actions constituted violations of law and the Fraudulent Insurance Act found at Tenn.
Code Ann. §56-53-103(a)(1), and has wrongfully delayed and denied the payment of policy
benefits and violated the rights of the Plaintiff. A copy of this letter is incorporated herein

by reference as Exhibit “3”.

26, Defendants made material misrepresentation of facts and policy coverage terms
relating to an insurance claim appraisal, violating the Fraudulent Insurance Act in their
February 9, 2023 letter to the insured and a claims professional / practitioner by naming
Randy Ison, E.V of J.S. Held, LLC as their appraiser in this matter, while knowing that
Ison was not qualified or impartial to act as such due to his fellow employee and employer,
Steve Nash of J.S. Held, being involved in the investigation and partial denial of this claim
and having a substantial financial interest; and their actions constitute a violation of the

Fraudulent Insurance Act found at Tenn. Code Ann. §56-53-103({a)(1) and wrongfully

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delayed and denied the rights and payment of benefits to Plaintiff See Exhibit “3”. A copy

of this letter is incorporated herein by reference as Exhibit “3”,

27. Defendants staff adjuster, Blake Ludwig, made false statements and material
misrepresentation of facts and policy coverage terms relating to an insurance claim, and
violating the Fraudulent Insurance Act in his letter dated November 1, 2021 to an insured
and a claims professional / practitioner by stating, “Our inspection of the building found
no storm or weather related damage to the roof”, and that “ The roof damaged is due to
wear & tear over an extended period of time, not from this one event. This long-term
damages appears to be the result of inadequate or improper construction of the roofing
material and pre-existing damages”; Ludwig knew at all times that there were no coverage
issues, as shown in Plaintiff and Defendants own detailed estimate and photos of damages
from the ice, and that these statements were false because wear and tear was only excluded
as a cause of loss under the policy, and coverage had already been determined and
payment extended, yet Defendants still delayed and denied coverage and benefits to
Plaintiff under the policy; and their actions constitute a violation of the Fraudulent
Insurance Act found at Tenn. Code Ann, §56-53-103(a)(1) and has wrongfully delayed and
denied the rights and payment of benefits to Plaintiff. A copy of this letter is incorporated

herein by reference as Exhibit “3”. Exhibits“2-1” “3” and “4”.

28. On October 27, 2021, Steve Nash., who on information and belief is a resident of the
State of Tennessee, and whose business address is 1441 New Hwy 96 W, Ste 2, 202,
Franklin, TN 37064 , while in the Course and scope of his employment with Defendants,
misrepresented coverage terms and false information to an insured and an insurance

professional related to an insurance claim by misrepresents policy coverage terms and

Case 1:23-cv-0219 B-jay Document1-1 Filed 04/08/23 Page 16 of 65
CS PagelD 22

duties after loss to Plaintiff and Plaintiffs Public Adjuster on pg. 1. of his supplemental
report dated October 27, 2021, by stating that, “the costs that are anticipated to be part of
the claim are submitted for review prior to executing contracts. To the extent that repair

costs proceed on a time and materials basis, we recommend that that the adjustment team

monitor these repairs and that the insured keep appropriate records, sien in sheets and

documentation of these repairs,”, knowing that the policy does not contain a prerequisite

of Plaintiff documenting, supervising, or scheduling the work of others to make the repairs
to his insured premises, and Nash knew about the previous coverage and payment for the
roof seven months prior, but still failed to include it in his supplemental estimate and at all
times relevant knew that the water entered from the roof and soffit areas damaging the
interior insulation and suspended ceiling tiles and grids that the Defendants had provided
him prior to his omissions resulting in a deficient amount of loss used by the Defendants
to wrongfully violate Plaintiff rights under the policy and deny claim benefits; and even
after Plaintiffs Public Adjuster submitted clear photo evidence refuting Defendants
position in their entirety. See Exhibits “2-1”; “2-2” and photo evidence in Exhibits “4; 1-
26” and “6”. Nash’s actions constitute a violation of the Fraudulent Insurance Act found
at Tenn. Code Ann. §56-53-103(a)(1) and has wrongfully delayed and denied the payment
of benefits to Plaintiff. A copy of these Exhibits is incorporated herein by reference as

Exhibits “2-1”; “2-2” and photo evidence in Exhibits “4; 1-26” and “6”.

29. The actions of Western World, Blake, JS Held, LLC, and Nash are part of a pattern
or practice of violating the Fraudulent Insurance Act in Tenn. Code Ann. §56-53-107 that

entitles the Plaintiff to treble damages.

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29. The actions of Western World, Blake, JS Held, LLC, and Nash are part of a pattern
or practice of violating the Fraudulent Insurance Act in Tenn. Code Ann. §56-53-107
that entitles the Plaintiff to treble damages.

WHEREFORE, ALL PREMISES CONSIDERED, PLAINTIFF requests the court
enter an order to name an impartial appraiser, appoint an umpire, award pre-judgment
interest, post-judgment interest, compensatory damages, attorney fees, treble damages,
and other damages and expenses authorized by Tenn. Code Ann. §56-53-107 of no less
than FIVE MILLION DOLLARS and punitive damages of no less than TEN MILLION

DOLLARS.

Drayton Berkley, #02261
Counsel for Plaintiffs
® The Berkley Law Firm, PLLC &
1255 Lynnfield Road Ste 226
Memphis, TN 38119,
Phone. 901-322-8706
attornevberklev@email.com

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meme Page) 24 !

CERTIFICATE OF SERVICE

I do hereby certify that the foregoing document has been served upon the counsel of
record or parties pro se in this cause BY ELECTRONIC TRANSMISSION, as follows:

CARR-ALLISON

736 Market Street

Suite 1320

Chattanooga, TN" 37402

T: 423.648.9832

F: 423.648.9869
W:carrallison.com

E: jwatson@carrallison.com

Western World Group

e NAIC Code 13196 ®
300 Kimball Drive, Suite 500
Parsippany, New Jersey 07054

Steve Nash | Director

J.S. Held LLC

1441 New Hwy 96 West

Ste 2, 202, Franklin, TN 37064
615-478-2430

This 23rd day of February, 2023

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STOCK COMPANY

WESTERN

WORLD
An [AIG] company

COMMERCIAL LINES POLICY

POLICY NUMBER: NPP8664937

Prior Policy Number: NPP8518775

[X] WESTERN WORLD INSURANCE company [_] TUDOR INSURANCE COMPANY [_] STRATFORD INSURANCE COMPANY

COMMON POLICY DECLARATIONS

Named Insured and Mailing Address:
Olympic Steakhouse

Agent/Broker #31601

This insurance contract is with an insurer not licensed to

transact insurance in this state and is issued and delivered

5711 Hwy 412 insurance statutes.

BELLS, TN 38006

Producer:

Risk Placement Services Inc. - Florence
301 E. Limestone Street

Florence, AL 35630

Policy Period: (Mo./Day/Yr.)

From: 03/13/2020 To: 03/13/2021

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE

AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

as a surplus lines coverage pursuant to the Tennessee

12:01 AM, standard time at your mailing address shown above.

THIS PREMIUM MAY EIE SUBJECT TO ADJUSTMENT.

THIS POLICY CONSISTS OF THE FOLLOWING COVERAGES FOR WHICH A PREMIUM IS INDICATED.

Commercial Property Coverage Part
Commercial General Liability Coverage Part

Commercial Auto Coverage Part

$ 7,938.00

$_3,113.00

$ NOT COVERED

$

$

$

Other Coverages: Terrorism Risk Insurance Act

$ NOT COVERED

$

$

To Report a Loss

* Dial toll-free #1 (&44)777-8323 or visit our

+ Website: https://my.rpsins.com/claimsfnol!

* Contact Insurer directly (see policy section)

TOTAL ADVANCE PREMIUM

Broker Fee - RPS
TN Surplus Lines Tax

TN Clearinghouse Fee

Forms and endorsements applying to this policy and
attached at time of issue:

See Applicable Schedule Of Forms And Endorsements

GRAND TOTAL

$

$ 11,051.00

$ 200.00

$ 562.55

$ 19.69

$

$

$

$ 11,833.24

RPSFLO/SC/2020.03.19 Page 1 of 2
INSURED

WW 230 (06/17)

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SCHEDULE OF FORMS AND ENDORSE

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Pag 26

POLICY NUMBER:
NPP8664937

NAMED INSURED
Olympic Steakhouse

Form/Endorsement No./Edition Date

WW230(06_17)
WW497(01_18)
WW232 (01 12)
CL170(01_ 86)
WW22(06_16)
IL0017(11_98)
IL0021(09_08)
WW183 (05 12)
WW10A(10_05)
WW1(06_12)
WW3 (08 09)
WW13(06 12)
WW168 (06 12)
WW191(01 97)
WW192(04_13)
WW244(01 16)
wW401(08 19)
WW424(09 10)
wWwW456 (01 12)
CG0001(12_07)
CG0068(05 09)
CG2107(05_ 14)
CG2111(06_ 15)
CG2136 (03_05)
CG2144 (07_98)
CG2147 (12_07)
CG2149(09 99)
CG2167(12_04)
CG2173 (01_15)
CG2229(11_ 85)
CG2407(01_ 96)
ILPO001(01_04)
WW231(08 11)
WW451(08 11)
WW425 (02 _ 08)
WW458 (06 13)
CP0010(06_07)
CP0030(06_07)
CP0090(07_ 88)
CP0140(07_06)
CP0440(06_07)
CP1030(06_07)
CP1211(10_00)
CP1218(06_ 07)
IL0935(07_02)
IL0953 (01 15)
PR1001(10 14)
PR1002(10 14)
PR1212 (12 19)
PR9906 (06 _15)
WWEB2 (10_10)

Title (Note- Titles are indications only. See actual form for correct name.)

COMMON POLICY DECLARATIONS

NOTICE - CLAIM REPORTING

COMMERCIAL LIABILITY COVERAGE PART DECLARATIONS
CGL DECLARATIONS EXTENSION

SERVICE OF SUIT

COMMON POLICY CONDITIONS

NUCLEAR ENERGY LIABILITY EXCLUSION ENDT
MINIMUM-EARNED PREMIUM

SCHEDULE OF LOCATIONS

DEDUCTIBLE ENDORSEMENT

ASSAULT AND BATTERY EXCLUSION

CLASSIFICATION LIMITATION

CANCELLATION AND PREMIUM AUDIT CHANGES

CONTRACTUAL LIABILITY - AMENDMENTS

PREMIUM BASIS ENDORSEMENT

EXCLUSION - BODILY INJURY TO CASUAL WORKER OR TEMPORARY
TOTAL AND ABSOLUTE ASBESTOS EXCLUSION

EXCL OF NUCLEAR/BIO/CHEM INJURY OR DAMAGE
COMMERCIAL GENERAL LIABILITY AMENDATORY ENDORSEMENT
COMMERCIAL GENERAL LIABILITY COVERAGE FORM
RECORDING/DISTR: MATERIAL IN VIOLATION OF LAW EXCL
EXCL-ACCESS OR DISCL OF CONFIDENTIAL OR PERSONAL INFO
EXCLUSION - UNMANNED AIRCRAFT COVERAGE B ONLY
EXCLUSION - NEW ENTITIES

LIMIT OF COVERAGE TO DESIGNATED PREMISES OR PROJ
EMPLOYMENT-RELATED PRACTICES EXCLUSION

TOTAL POLLUTION EXCLUSION ENDORSEMENT

FUNGI OR BACTERIA EXCLUSION

EXCLUSION OF CERTIFIED ACTS OF TERRORISM

EXCLUSION - PROPERTY ENTRUSTED

PRODS/COMPLETED OPS HAZARD REDEFINED

U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN ASSETS
COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS
COMMERCIAL PROPERTY COVERAGE PART SUPPLEMENTAL DEC
EXCL OF CHEMICAL AND BIOLOGICAL LOSS OR DAMAGE
ASBESTOS EXCLUSION

BUILDING & PERSONAL PROPERTY COVERAGE FORM
BUSINESS INCOME & EXTRA EXPENSE COVERAGE FORM
COMMERCIAL PROPERTY CONDITIONS

EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA
SPOILAGE COVERAGE

CAUSES OF LOSS - SPECIAL FORM

BURGLARY & ROBBERY PROTECTIVE SAFEGUARDS

LOSS PAYABLE PROVISIONS

EXCLUSION OF CERTAIN COMPUTER-RELATED LOSSES
EXCLUSION OF CERTIFIED ACTS OF TERRORISM

WATER EXCLUSION

EARTH MOVEMENT EXCLUSION

ACTUAL CASH VALUE DEFINITION ENDORSEMENT

PROPERTY PLUS - DIRECT DAMAGE ENDORSEMENT
EQUIPMENT BREAKDOWN COVERAGE

ADDITIONAL FORMS AND ENDORSEMENTS

INSURED

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Page 27

COMMERCIAL LIABILITY COVERAGE PART

DECLARATIONS
Effective Date: 03/13/2020
Policy Number: NPP8 664937 12:01 AM, Standard Time

COMMERCIAL GENERAL LIABILITY - LIMITS OF INSURANCE

General Aggregate Limit (Other Than Products-Completed Operations) $1,000,000

: Products - Completed Operations Aggregate Limit $ 500,000 Ti
Personal and Advertising Injury Limit $ 500,000 Any One Person or Organization
Each Occurrence Limit $500,000
Damage to Premises Rented to You $ 100,000 Any One Premises
Medical Expense Limit $ 5,000 Any One Person
Each Professional Incicient Limit (if applicable) $ Not Covered

T if the Limit is shown as Included, Products-Completed Operations are subject to the General Aggregate Limit.

PREMIUM
Rate Advance Premium
Premium
Classification Code No, Basis Pr/iCo All Other PriCo All Other
Buildings or Premises - bank or 61217 Area 0.00 28.459 0.00 256.00
office - mercantile or manufacturing 9,000
- maintained by the Insu:red
(lessor's risk only) - for profit
(P1/B1)
Restaurants - with sale 93f£ alcoholic 16915 Gross Sales 0.197 3.622 138.00 2,535.00
beverages that are more than 30% but 700,000.00
less than 75% of the annual receipts
@ ef the restaurant - with dance floor
(P1/B1)
Warehouses - mini-warehouees (P1/B2) 18991 Gross Sales 0.00 4.319 0.00 54.00
12,500.00
Warehouses - mini-warehoases (P1/B3) =aa90 tanec 8.90 4-429 0206 ae -90

Total Advance Premium $ 3,113.00

FORMS AND ENDORSIEMENTS

Forms and Endorsements applying to this coverage part and made part of policy at time of issue:

See Schedule of Forms and Endorsements

THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS GONTAINING THE NAME OF THE INSURED AND
THE POLICY PERIOD.

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EX 1 pdf 3 @ 2/23/2023 10:49:44 AM

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Sent Via E-Mail

January 27, 2023

Western World / AIG

300 Kimball Drive, Suite 500
Parsippany, NJ 07054

P: 201 847 8600 | F:201 847 1780
E: r.teglia@westernworld.com

Re: Insured: Olympic Steakhouse
Claim No.: 164629

Loss Location: 571] Hwy 412, Bells, TN 38006
Date of Loss: 02/17/2021

Greetings,

We are demanding appraisal of the amount of our losses covered by the policy resulting from the covered
loss of Freeze/Water Damage captioned above, and in the manner described within the policy specific
language as noted below:

1. Appraisal

two will be binding. Each party will:

a. Pay its chosen appraiser; and

b. Bear the ozher expenses of the appraisal and umpire equally.
If there is an appraisal, we will still retain our right to deny the claim.

We designate our appraiser as follows:

Zach Baker
(815)988-3337

Claims@TDGroup.us

Accordingly, please designate your appraiser and have him/her contact Mr. Baker in the manner as
prescribed. We do not waive any policy provisions, right, action, or defenses whether or not identified by
our compliance with this policy provision.

Sincerely,

William Saveh
Olympic Steakhouse

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EX L.pdf 4

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c. Insurance under this Extension for each
newly acquired location will end when any of

the following first occurs:
(1) This policy expires;

(2) 30 days expire after you acquire or begin
to construct the Property; or

(3) You report vatues to us.

We will charge you additional Premium for
values reported from the date you acquire
the property.
The Additional Condition, Coinsurance, does
not apply to this Extension.

Limits Of Insurance

The most we will pay for loss in any one occurrence
is the applicable Limit of Insurance shown in the
Declarations.

Payments under the following coverages will not in-
crease the applicable Limit of Insurance:

i. Allerations And New Buildings;
2. Civil Authority;

3. Extra Expe se; or

4. Extended Business income.

The amounts of insurance stated in the Interruption
Of Computer Operations Additional Coverage and
the Newly Acquired Locations Coverage Extension
apply in accordance with the terms of those cover-
ages and are separate from the Limit(s) of Insur-
ance shown in the Declarations for any other cover-
age.
Loss Conditions
The following conditions apply in addition to the
Common Polisy Conditions and the Commercial
Property Conditions.
1. Appraisal
If we and you disagree on the amount of Net In-
come and operating expense or the amount of
loss, either may make written demand for an ap-
Praisal of the loss. In this event, each Party will
select a cerns no bronerihel aprriear.
will select an umpire, If they
rxjrest Grek aaigouion
cure Inervirtey fenrbeeriie
i. The appraisers wil aeperetely ths
amount of Net Income and operating expense
or Srymemt oF ioe. If they fall to agree, they will
submit their differences to the umpire. A deci-
Sion agreed to by any two will be binding. Each
Party will:

a. Pay its chosen appraiser; and

b. Bear the other expenses of the appraisal and
umpire equally.

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Filed 04/03/23

If there is an appraisal, we will still retain our
right to deny the claim.

2. Duties in The Event Of Loss

a. You must see that the following are done in
the event of loss:

(1) Notify the police if a law may have been
broken.

(2) Give us prompt notice of the direct physi-
cal loss or damage. Include a description
of the property involved.

(3) As soon as possible, give us a descrip-
tion of how, when. and where the direct
Physical loss or damage occurred,

(4

=

Take all reasonable steps to protect the
Covered Property from further damage,
and keep a record of your expenses nec-
essary to protect the Covered Property,
for consideration in the settlement of the
claim. This will not increase the Limit of
Insurance. However, we will not pay for
any subsequent loss or damage resulting
from a cause of loss that is nota Covered
Cause of Loss. Also, if feasible, set the
damaged property aside and in the best
Possible order for examination.

(5) As often as may be reasonably required,
permit us to inspect the Property proving
the loss or damage and examine your
books and records.

Also permit us to take samples of dam-
aged and undamaged Property for in-
spection, testing and analysis, and permit
us to make copies from your books and
records.

(6) Send us a signed, sworn proof of loss
containing the information we request to
investigate the claim. You must do this
within 60 days after our request, We will
supply you with the necessary forms.

7

—

Cooperate with us in the investigation or
settlement of the claim.

(8) If you intend to continue your business,
you must resume all or part of your
"operations" as quickly as possible.

b. We may examine any insured under oath,
while not in the presence of any other in-
sured and at such times as may be reason-
ably required, about any matter relating to
this insurance or the claim, including an in-
sured's books and records. In the event of
an examination, an insured's answers must
be signed.

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Appraisal provision Loss Settlement.pdf 1

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EX pdf 5

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3. Loss Determination

a. The amount of Business Income loss will be
determined based on:
{1) The Net Income of the business before
the direct physical loss or damage oc-
curred;

(2

—

The likely Net Income of the business if
no physical loss or damage had oc-
curred, but not including any Net Income
that would likely have been earned as a
result of an increase in the volume of
business due to favorable business con-
ditions caused by the impact of the Cov-
erec| Cause of Loss on customers or on
other businesses;

(3) The operating expenses, including pay-
roll @xpenses, necessary to resume “op-
erations" with the same quality of service
that existed just before the direct physical
loss or damage: and

(4) Other relevant sources of information, in-
cluding:
(a) Your financial records and account-
ing procedures;

(b) Bills, invoices and other vouchers;
and

{c) Deeds, liens or contracts,

b. The amount of Extra Expense will be deter-
mined based on:

(4) All expenses that exceed the normal op-
eratng expenses that would have been
incurred by "operations" during the "peri-
od of restoration" if no direct Physical
loss or damage had occurred. We will de-
duct frorn the total of such expenses:

(a) “he salvage value that remains of any
property bought for temporary use
during the "period of restoration",
once “operations” are resumed; and

(b

—

Any Extra Expense that is paid for by
other insurance, except for insurance
that is written subject to the same
plan, terms, conditions and provi-
sions as this insurance; and

(2) Necassary expenses that reduce the
Business Income loss that otherwise
would have been incurred.

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c. Resumption Of Operations
We will reduce the amount of your:

(1) Business Income loss, other than Extra
Expense, to the extent you can resume
your “operations”, in whole or in Part, by
using damaged or undamaged property
(including merchandise or stock) at the
described premises or elsewhere.

(2) Extra Expense loss to the extent you can
return “operations” to normal and discon-
tinue such Extra Expense.

d. If you do net resume “operations”, or do not
resumé “operations” as quickly as possible,
we will pay based on the length of time it
would have taken to resume “operations” as
Quickly as possible.

>

Loss Payment

We will pay for covered loss within 30 days after
we receive the sworn proof of loss, if you have
complied with all of the terms of this Coverage
Part and:

a. We have reached agreement with you on the
amount of loss; or

b. An appraisal award has been made.
D. Additional Condition
COINSURANCE &

lf a Coinsurance Percentage is shown in the Decla-
rations, the following condition applies in addition to
the Common Policy Conditions and the Commer-
cial Property Conditions.

We will not pay the full amount of any Business In-
come loss if the Limit of Insurance for Business In-
come is less than:

1. The Ceoinsurance percentage shown for Busi-
ness Income in the Declarations; times

2. The sum of:

a. The Net Income (Net Profit or Loss before in-
come taxes), and

b. Operating expenses, including payroll ex-
penses,

that would have been earned or incurred (had
no loss occurred) by your “operations” at the de-
scribed premises for the 12 months following
the inception, or last previous anniversary date,
of this policy (whichever is later).

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Appraisal provision Loss Settlement.pdf 2

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EX l.pdf 6

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300 Kimball Drive, Suite 500

A | ( Parsippany, NJ 07054
USA

T +1 201 847 8600
F +1 201 847 1780
Toll Free +1 866 852 2990

March 25, 2021
Sent Via Email

Olympic Steakhouse & William Griffin
5711 Hwy 412
Bells, TN 38006

RE: Insured: Olympic Steakhouse
Claim No.: 164629
Loss Location: 5711 Hwy 412, Bells, TN 38006
Date of Loss: 02/17/2021
Policy No.: NPP8664937

Dear Olympic Steakhouse:

We recently received your claim for the above referenced loss. Based on the information you
provided, your policy, and the inspection we have determined that the damage caused by
Freeze/Water Damage at 5711 Hwy 412, Bells, TN 38006 is a covered loss.

Please show the adjuster’s estimate to your contractor and have that person contact the
adjuster with any questions about price or scope. Please notify us of any potential changes in
scope or price. Unapproved changes will not be covered.

Your property claim has been calculated as follow:

Summary for Premise 1 Building 1

Replacement Cost $ 22,960.98
Less Non Recoverable

Depreciation $ 2,489.88
Actual Cash Value $ 20,471.10
Less Co-Insurance Penalty $ 2,843.44
Less Deductible $ 2,500.00
Net Claim Payable $ 15,127.66

A check for $15,127.66 has been authorized and will be sent to you separately.

Please be aware that the mortgagee has been added to the paymeni(s), as it is
above $10,000. Also your Public Adjuster Company will be included on your check due to
signed LOR received.

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Case 1:23-cv-0219

If the full cost allowed for repair or replacement is found to be insufficient you must contact
Western World Insurance to discuss any supplemental claim before repairs are initiated.
Unapproved changes will not be covered.

Thank you for your assistance and cooperation in the handling this claim. If you have any
questions, please contact me at (972) 945-0040

Sincerely,
Ludwig Blake

Ludwig Blake
Property Claims Examiner

EX 2-1.pdf 2

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Case 1:23-cv-02191-JDB-jay Document 1-1

ui.

Insured:
Property:

Claim Rep.:
Company:

Estimator:

Reference:
Company:
Business:

Claim Number: 164629

Date Contacted:
Date of Loss:

Date Inspected:

Date Est. Completed:

Price List:

Estimate:

Filed 04/03/23
PagelD 33

Parker Loss Consultants

130 Chieftain Drive, Suite 102
Waxahachie, Texas 75165

Olympic Steakhouse Home:
5711 Hwy 412
Bells, TN 38006
Ludwig Blake Business:
Western World Insurance Group E-mail:
Casey Newport Business:
E-mail:
Business:

Western World Insurance Group
300 Kimball Avenue, Suite 500
Parsippany , NJ 07054

Policy Number: NPP8664937

2/25/2021

2/17/2021 Date Received: 2/24/2021

3/8/2021 Date Entered: 3/3/2021 11:00 AM
7/1/2020

TNJA8X_FEB2]

Restorat ion/Service/Remodel
OLYMPIC_STEAKHOUSE-?

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(731) 501-9723

(972) 945-0040
ludwig. blake@westernworld.com

(901) 262-5444
caseynewport@comeast.net

(201) 847-8600

Type of Loss: Weight of Ice & Snow

Important! Please Read First:

The ultimate choice of a
to you. If the contractor you choose thinks he or she is unable to complete the specified repairs for the
amount allowed in our estimate, please have your contractor contact me immediately. Any request for supplemental
funds must be made prior to the work being done, or such request cannot be honored.

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2/23/2023

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Pr Pag@D 34

Parker Loss Consultants

Filed 04/03/23

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130 Chieftain Drive, Suite 102
Waxahachie, Texas 75165

OLYMPIC-ME
ROOF WAS INCLUDED,
THEN REMOVED BY Roof
STEVE NASH Main Level

2

_ 12 29

01/01 Roof

17465.43 Surface Area
1106.65 Total Perimeter Length

174.65 Number of Squares
287.25 Total Ridge Length

THIS RESULTS IN REMOVAL OF THE ENTIRE ROOF

DUE TO THE CONDITIONS.

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
1. Remove Ridge cap - metal roofing 58.00 LF 1.68 0.00 0.00 97.44 (0.00) 97.44
2. Metal roofing - Detach & reset 1,527.33 SF 3.00 20.85 0.00 4,602.84 (0.00) 4,602.84
3. Install Ridge cap - metal roofing 58.00 LF 1.77 0.00 0.00 102.66 (0.00) 102.66
4. R&R Sheathing - OSB - 5/8" 384.00 SF 2.32 42.31 0.00 933.19 (325.44) 607.75
Totals: 01/01 Roof 63.16 0.00 5,736.13 325.44 5,410.69
® Total: Main Level 63.16 0.00 5,736.13 325.44 5,410.69
01/01 Front Elevation
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
5. R&R Standing seam metal roofing 66.00 SF 6.38 17.50 84.22 522.80 <23.94> 498.86
6. R&R Patio Post - Aluminum tube 90.00 LF 7,23 35.36 130.14 816.20 <90.68> 725.52
7. R&R Gutter / downspout - aluminum - 36.00 LF 8.50 20.43 61.20 387.63 <83.81> 303.82
6"
Awning guttering.
8. R&R Gutter / downspout - aluminum - 12.00 LF 5.47 3.40 13.12 82.16 (13.97) 68.19
up to 5"
9. R&R Siding - aluminum (.024 thickness) 120,00 SF 5.63 42.71 135.12 853.43 (262.80) 590.63
10. Prime & paint metal siding 326.00 SF 0.84 8.26 34.76 336.86 (5.65) 331.21
11. R&R Exterior light fixture - Premium 1.00 EA 205.21 10.73 41.04 256.98 (27.50) 229.48
grade
12. R&R 110 volt commercial 1.00EA 178.86 2.03 35.78 216.67 (8.32) 208.35
wiring/conduit and box - rough in only
13, R&R Exterior light fixture - High 2.00 EA 123.78 14.63 49.52 311.71 (37.51) 274.20
grade
14. R&R Soffit - vinyl 380.00 SF 4.00 70.40 304.00 1,894.40 (288.80) 1,605.60
15. Clean the surface area 265.00 SF 0.26 0.26 13.78 82.94 (0.00) 82.94
16. R&R Cap flashing 20.00 LF 15.55 21.02 0.00 332.02 (161.70) 170,32
Totals: 01/01 Front Elevation 246.73 922.68 6,093.80 1,004.68 5,089.12
OLYMPIC STEAKHOUSE-2 3/23/2021 Page: 2

NO EMERGENCY REMOVAL INCL. AND

THE WALL PANELS / VESTIBULE /
SOFFIT WERE HEAVILY DAMAGED.

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Parker Loss Consultants
a 130 Chieftain Drive, Suite 102
Waxahachie, Texas 75165
01/01 Left Elevation
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
17. R&R 2" x 6" lumber (1 BF per LF) 45.00 LF 3.18 6.54 28.64 178.28 (22.35) 155.93
18. R&R Fascia - metal - 6" 120.00 LF 4.00 17.55 96.00 593.55 (135.00) 458.55
19. R&R Gutter / downspout - aluminum - 140.00 LF 5.47 39.72 153.16 958.68 (305.55) 653.13
up to 5"
20. R&R Soffit - vinyl 120.00 SF 4.00 22.23 96.00 598.23 (171.00) 427.23
21, R&R PVC schedule 40 conduit, 3/4" 20.00 LF 4.14 0.60 16.56 99.96 (3.10) 96.86
22. R&R #4 gauge copper wire - stranded 20.00 LF 2.21 2.11 8.84 55.15 (7.20) 47.95
or solid
23. R&R Disconnect box - 60 amp - non 1.00 EA 145.70 1.64 29.14 176.48 (12.62) 163.86
fused
Totals: 01/01 Left Elevation 90.39 428,34 2,660.33 656.82 2,003.51
Total: Roof 400.28 1,351.02 14,490.26 1,986.94 12,503.32
SKETCH2
Main Level
Furniture Storage Height: 9' 3" ®
1198.42 SF Walls 1021.78 SF Ceiling
2220.19 SF Walls & Ceiling 1021.78 SF Floor
113.53 SY Flooring 126.67 LF Floor Perimeter
141.67 LF Ceil. Perimeter
2 #6"
Window - Goes to Floor 12" X7'8" Opens into Exterior
Door 3'X 6' 8" Opens into REAR_FURNITU
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV |
24. Mask the floor per square foot - plastic 1,021.78 SF 0.23 4.98 47.00 286.99 (0.00) 286.99
and tape - 4 mil |
25. Contents - move out then reset - Extra 1.00 EA 135.81 0,00 27.16 162.97 (0.00) 162.97 |
large room
26. Drywall patch / small repair, ready for 1.00 EA 64.42 0.27 12.88 77.57 (0.00) TEST
paint
27. Drywall Installer / Finisher - per hour 3.00 HR 79,56 0.00 47.74 286.42 (0.00) 286.42
28. R&R Water supply line - PVC with 2.00 LF 11.45 0.10 4.58 27,58 (0.00) 27.58
fitting and hanger, 3/4"
29. Plumber - per hour 2.50 HR 90.21 0.00 45.10 270.63 (0.00) 270.63
30. Spot seal w/oil based/hybrid stain 1.00 EA 24.04 0.24 4.80 29.08 (0.00) 29.08
blocker
31. Paint the walls - two coats 1,198.42 SF 0.88 23.37 210.92 1,288.90 (179.76) 1,109.14
32. Baseboard - Detach & reset 8.00 LF 1.85 0.02 2.96 17.78 (0.00) 17.78
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Parker Loss Consultants

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130 Chieftain Drive, Suite 102
Waxahachie, Texas 75165

CONTINUED - Furniture Storage

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
33. Paint baseboard - two coats 126.67 LF 1.32 1.48 33.44 202.12 (11.40) 190.72
34, Water extraction from hard surface 1,021.78 SF 0.21 0.00 0.00 214.57 (0.00) 214.57
floor

35. Final cleaning - construction - 1,021.78 SF 0.13 0.00 26.56 159.39 (0.00) 159.39
Commercial

Totals: Furniture Storage 30.46 463.14 3,024.00 191.16 2,832.84

| Rear Furniture Storage

Height: 9' 3"

; ca 1 659.88 SF Walls 215.72 SF Ceiling
1 fe Rea Fumiture Storage E 875.60 SF Walls & Ceiling 215.72 SF Floor
Te ae re eo" i Z .
_ nor — 23.97 SY Flooring 70.50 LF Floor Perimeter
© 73.50 LF Ceil. Perimeter
Door 3'X 6'8" Opens into FURNITURE_ST
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
| 36. Contents - move out then reset 1.00 EA 45.27 0.00 9.06 54.33 (0.00) 54,33
37. Mask the floor per square foot - plastic 215.72 SF 0.23 1.05 9.92 60,59 (0.00) 60.59
and tape - 4 mil
38. R&R Batt insulation - 10" - R30 - 107.86 SF 1.57 9.99 33.86 213.19 (6.83) 206.36
paper / foil faced
39. R&R Suspended ceiling tile - 2' x 2' 107.86 SF 2.22 14.09 47.88 301.41 (9.64) 291.77
No coverage for damage under the rotted decking and no coverage for repeated seepage.
40, Spot seal w/oil based/hybrid stain 1.00 EA 24.04 0.24 4.80 29.08 (0.00) 29.08
blocker
41. Paint the walls - two coats 659.88 SF 0.88 12.87 116.14 709.70 (98.98) 610.72
42. Final cleaning - construction - 215.72 SF 0.13 0.00 5.60 33.64 (0.00) 33.64
| Commercial
Totals: Rear Furniture Storage 38.24 227.26 1,401.94 115.45 1,286.49
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130 Chieftain Drive, Suite 102
Waxahachie, Texas 75165

Salon

Height: 9' 3"

1461.47 SF Walls

3381.92 SF Walls & Ceiling
213.38 SY Flooring
176.67 LF Ceil. Perimeter

1920.44 SF Ceiling
1920.44 SF Floor
153.75 LF Floor Perimeter

B74 bo"

Door 3'X 6'8" Opens into Exterior

Window - Goes to Floor 19°11" X 7'8" Opens into Exterior

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

43. Water extraction from hard surface 576.13 SF 0.21 0.00 0.00 120.99 (0.00) 120.99

floor

44. Final cleaning - construction - 1,920.44 SF 0.13 0.00 49.94 299.60 (0.00) 299.60

Commercial

Totals: Salon 0.00 49.94 420.59 0.00 420.59
Furniture Store Height: 9' 3"

fac
=, Furniture Store
if

| I 7" =o |e? 1

1512.92 SF Walls

3177.36 SF Walls & Ceiling
184.94 SY Flooring
175.67 LF Ceil, Perimeter

1664.44 SF Ceiling
1664.44 SF Floor
160.67 LF Floor Perimeter

B12 ot erry

Door 3'X 6' 8" Opens into BREAK_ROOM

Window - Goes to Floor 12"X7'8" Opens into Exterior

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

45, Contents - move out then reset LOOEA 45.27 0.00 9.06 54,33 (0.00) 54.33

46. Mask the surface area per square foot - 60.00 SF 0.23 0.29 2.76 16.85 (0.00) 16.85

plastic and tape - 4 mil

47. R&R Batt insulation - 10" - R30 - 28.00 SF 1.57 2.59 8.78 55.33 (1.77) 53.56

paper / foil faced

48. R&R Suspended ceiling tile - 2' x 2' 28.00 SF 2.22 3.66 12.42 78.24 (2.50) 75.74

No coverage for repeated seepage.

49. Final cleaning - construction - 100.00 SF 0.13 0.00 2.60 15.60 (0.00) 15.60

Commercial

Totals: Furniture Store 6.54 35.62 220.35 4.27 216.08
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130 Chieftain Drive, Suite 102
Waxahachie, Texas 75165

Bedroom

Height: 9' 3"

r
4
2

285.29 SF Walls
361.82 SF Walls & Ceiling
8.50 SY Flooring
35.17 LF Ceil. Perimeter

76.53 SF Ceiling
76.53 SF Floor
29.17 LF Floor Perimeter

Door 3'X 6'8" Opens into BREAK ROOM

Door 3'X 6' 8" Opens into BEDROOM 2

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
| 50. Contents - move out then reset - Small 1.00 EA 33,98 0.00 6.80 40.78 (0.00) 40.78

room

51. Mask the floor per square foot - plastic 76.53 SF 0.23 0.37 3.52 21.49 (0.00) 21.49

and tape - 4 mil

52. R&R Batt insulation - 10" - R30 - 12.00 SF 1.57 L.11 3.78 23-43 (0.76) 22.97

paper / foil faced

53. R&R Suspended ceiling tile - 2' x 2" 12.00 SF 2.22 1,57 5.34 33.55 (1.07) 32.48

No coverage for repeated seepage.

34. Spot seal w/oil based/hybrid stain 1.00 EA 24.04 0.24 4.80 29,08 (0.00) 29.08

blocker

55. Paint the walls - two coats 285.29 SF 0.88 3.56 50.22 306.84 (38.04) 268.80 ®

56. Final cleaning - construction - 76.53 SF 0.13 0.00 2.00 11.95 (0.00) 11.95

Commercial

Totals: Bedroom 8.85 76.46 467.42 39.87 427.55
| Bedroom 2 Height: 9° 3"

— 12! |'"— ent:
] 340.75 SF Walls 91.70 SF Ceiling
| I= 432.45 SF Walls & Ceiling 91.70 SF Floor
10.19 SY Flooring 36.00 LF Floor Perimeter
39.00 LF Ceil. Perimeter

Door 3' X 6'8" Opens into BEDROOM

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

57. Contents - move out then reset - Small 100EA 33.98 0.00 6.80 40,78 (0.00) 40.78

room

58. Mask the floor per square foot - plastic 91.70 SF 0.23 0.45 4,22 25.76 (0.00) 25.76

and tape - 4 mil

59. R&R Batt insulation - 10" - R30 - 12.00 SF 1.57 1.11 3.78 23.73 (0.76) 22.97

paper / foil faced

60. R&R Suspended ceiling tile - 2' x 2' 12.00 SF 2.22 MST 5.34 33.55 (1.07) 32.48

No coverage for repeated seepage.

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ee 130 Chieftain Drive, Suite 102
Waxahachie, Texas 75165

CONTINUED - Bedroom 2

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

61. Spot seal w/oil based/hybrid stain 100 EA 24.04 0.24 4.80 29.08 (0.00) 29.08

blocker

62. Paint the walls - two coats 340.75 SF 0.88 6.64 59.98 366.48 (45.43) 321.05

63. Final cleaning - construction - 91.70 SF 0.13 0.00 2.38 14.30 (0.00) 14.30

Commercial

Totals: Bedroom 2 10.01 87.30 533.68 47.26 486.42
sy Break Room Height: 9' 3"

‘edison? 733.96 SF Walls 305.31 SF Ceiling
oy Lt" 1039.27 SF Walls & Ceiling 305.31 SF Floor
33.92 SY Flooring 76.83 LF Floor Perimeter
wo 85.83 LF Ceil. Perimeter
Door 3'X 6' 8" Opens into Exterior
Door 3'X 6'8" Opens into ROOM2
Door 3'X 6' 8" Opens into BEDROOM
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
64, Contents - move out then reset 1.00EA 45,27 0.00 9.06 54,33 (0.00) 54.33
65. Mask the surface area per square foot - 20.00 SF 0.23 0.10 0.92 5.62 (0.00) 5.62
plastic and tape - 4 mil
66. R&R Batt insulation - 10" - R30 - 4.00 SF 1.57 0.37 1.26 7.91 (0.25) 7.66
paper / foil faced
67. R&R Suspended ceiling tile - 2' x 2' 4.00 SF 2.22 0.52 1.78 11.18 (0.36) 10.82
68. Final cleaning - construction - 20.00 SF 0.13 0.00 0.52 3,12 (0.00) 3.12
Commercial
Totals: Break Room 0.99 13.54 82.16 0.61 81.55
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Parker Loss Consultants

130 Chieftain Drive, Suite 102
Waxahachie, Texas 75165

4 a eT"

Mexican Restaurant Drink Room

Height: 8'

:
Mexican Restaurant Drink Room. lm

L.

Missing Wall - Goes to Floor

329.00 SF Walls

509.53 SF Walls & Ceiling
20.06 SY Flooring
54.67 LF Ceil. Perimeter

13' 3" xX 6' 8"

180.53 SF Ceiling
180.53 SF Floor
38.42 LF Floor Perimeter

Opens into Exterior

Door 3'X6'8" Opens into Exterior
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
69. Contents - move out then reset 100EA 45.27 0.00 9.06 54.33 (0.00) $4.33
70. Mask the surface area per square foot - 40.00 SF 0.23 0.20 1.84 11.24 (0.00) 11.24
plastic and tape - 4 mil
71. R&R Batt insulation - 10" - R30 - 12.00 SF 1.57 1.11 3.78 23.73 (0.76) 22.97
paper / foil faced
72. R&R Suspended ceiling tile - 2' x 2' 12.00 SF 2.22 1.57 §.34 33.55 (1.07) 32.48
No coverage for repeated seepage.
73. Final cleaning - construction - 180.53 SF 0.13 0.00 4,70 28.17 (0.00) 28.17
Commercial
|

Totals: Mexican Restaurant Drink Room 2.88 24,72 151.02 1.83 149.19

Mexican Restaurant Kitchen Height: 9' 3"

aia ys
it — 71 679.92 SF Walls 275.33 SF Ceiling
vin@ifSm Mexican Restaurant Kitchen [ 955.25 SF Walls & Ceiling 275.33 SF Floor
1" be 30.59 SY Flooring 72.67 LF Floor Perimeter
” 75.67 LF Ceil. Perimeter
Door 3'X 6' 8" Opens into Exterior
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
74. Contents - move out then reset 1.00EA 4§.27 0.00 9.06 54.33 (0.00) 54,33
75. Clean the surface area 64,00 SF 0.26 0.06 3,32 20.02 (0.00) 20.02
76, Final cleaning - construction - 275.33 SF 0.13 0.00 7.16 42,95 (0.00) 42,95
Commercial
Totals: Mexican Restaurant Kitchen 0.06 19.54 117.30 0.00 117.30
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Parker Loss Consultants

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130 Chieftain Drive, Suite 102
Waxahachie, Texas 75165

Office

Height: 8' 6"

1201.25 SF Walls

2271.18 SF Walls & Ceiling
118.88 SY Flooring
154.50 LF Ceil. Perimeter

1069.93 SF Ceiling
1069.93 SF Floor
139.50 LF Floor Perimeter

Window - Goes to Floor 12'X 7' 8" Opens into Exterior
Door 3'X 6'8" Opens into Exterior
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
77. Contents - move out then reset 1.00 EA 4§.27 0.00 9.06 54.33 (0.00) 54.33
78. Mask the surface area per square foot - 96.00 SF 0.23 0.47 4.42 26.97 (0.00) 26.97
plastic and tape - 4 mil
79. R&R Batt insulation - 10" - R30 - 44.00 SF 1.57 4.08 13.82 86.98 (2.79) 84.19
paper / foil faced
80. R&R Suspended ceiling tile - 2' x 2' 44.00 SF 2.22 5.75 19.54 122.97 (3.93) 119.04
No coverage for repeated seepage.
81. Final cleaning - construction - 1,069.93 SF 0.13 0.00 27.82 166.91 (0.00) 166.91
Commercial
Totals: Office 10.30 74.66 458.16 6.72 451.44 ©

Steakhouse Height: 8' 6"

1011.75 SF Walls 965.25 SF Ceiling
1977.00 SF Walls & Ceiling 965.25 SF Floor
107.25 SY Flooring 118.46 LF Floor Perimeter
128.21 LF Ceil. Perimeter
Door 9'9" X 8" Opens into Exterior
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
82. Contents - move out then reset 1.00 EA 45.27 0.00 9.06 $4.33 (0.00) $4.33
83. Mask the surface area per square foot - 20.00 SF 0.23 0.10 0.92 5.62 (0.00) 5.62
plastic and tape - 4 mil
84. R&R Batt insulation - 10" - R30 - 4.00 SF [.S7 0.37 1.26 7.91 (0.25) 7,66
paper / foil faced
85. R&R Suspended ceiling tile - 2' x 2' 4.00 SF 2.22 0.52 1.78 11.18 (0.36) 10.82
86. Final cleaning - construction - 20.00 SF 0.13 0,00 0.52 3.12 (0.00) 3.12
Commercial
Totals: Steakhouse 0.99 13.54 82.16 0.61 81.55
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renege “THEE
Parker Loss Consultants
= 130 Chieftain Drive, Suite 102
Waxahachie, Texas 75165
Steakhouse Pantry Height: 8'
556.11 SF Walls 333.86 SF Ceiling
Steakhouse Pantry = fe 889.97 SF Walls & Ceiling 333.86 SF Floor
7 37.10 SY Flooring 68.75 LF Floor Perimeter
woo 73.33 LF Ceil. Perimeter
ae

Missing Wall - Goes to Floor 47" X6'8" Opens into Exterior
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
87. Contents - move out then reset 1.00 EA 45.27 0.00 9.06 34,33 (0.00) 34.33
88. Mask the surface area per square foot - 100.00 SF 0.23 0.49 4.60 28.09 (0.00) 28.09
plastic and tape - 4 mil
89. R&R Ceiling panel - w/battens & 64.00 SF 3.54 9.73 45.32 281.61] (19.97) 261.64
staples*
90. R&R Batt insulation - 10" - R30 - 64.00 SF 1.57 5.93 20.10 126.51 (12.16) 114.35
paper / foil faced
91. Final cleaning - construction - 333.86 SF 0.13 0.00 8.68 52.08 (0.00) 52.08
Commercial
Totals: Steakhouse Pantry 16.15 87.76 542.62 32.13 510.49

— ws
Dey 29'S"

T Private Dining Room Left Height: 8' 6"
i 495.71 SF Walls 345.27 SF Ceiling
Prifsbe 840.98 SF Walls & Ceiling 345.27 SF Floor
1 38,36 SY Flooring 60.91 LF Floor Perimeter
& 76.91 LF Ceil. Perimeter
Ll
Door 8'X8' Opens into PRIVATE_DINI
Door 8'X8' Opens into Exterior
Window 3'X5' Opens into Exterior
Window 3'X5' Opens into Exterior
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
92. Contents - move out then reset - Small 1.00 EA 33.98 0.00 6.80 40.78 (0.00) 40.78
room
93. Mask the surface area per square foot - 20.00 SF 0.23 0.10 0.92 5.62 (0.00) 3.62
plastic and tape - 4 mil
94. R&R Batt insulation - 10" - R30 - 4.00 SF 1.57 0.37 1.26 7.91 (0.25) 7.66
paper / foil faced
95. R&R Suspended ceiling tile - 2' x 2' 4.00 SF 2.22 0.52 1.78 11.18 (0.36) 10.82
No coverage for repeated seepage.
96. Final cleaning - construction - 20.00 SF 0.13 0.00 0.52 3.12 (0.00) 3.12
Commercial
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Parker Loss Consultants
= ie 130 Chieftain Drive, Suite 102
Waxahachie, Texas 75165
CONTINUED - Private Dining Room Left

DESCRIPTION QUANTITY UNIT PRICE TAX O&P

RCV DEPREC.

ACV

Totals: Private Dining Room Left 0.99 11.28

10! i 23" php
3 Sie 34 dg! 10"
Te

Private Dining Room Right

68.61 0.61

68.00

Height: 8' 6"

722.92 SF Walls

1433.82 SF Walls & Ceiling
78.99 SY Flooring
107.17 LF Ceil. Perimeter

710.90 SF Ceiling
710.90 SF Floor

91.17 LF Floor Perimeter

Door 8'xs8' Opens into Exterior

Door 3'X8' Opens into ROOM4

Window 3X5! Opens into Exterior

Window 3x5" Opens into Exterior

Window 3'X5' Opens into Exterior

Window 3"X5' Opens into Exterior

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

97. Contents - move out then reset - Large 1.00 EA 67.91 0.00 13.58 81.49 (0.00) 81.49

room

98. Mask the surface area per square foot - 10.00 SF 0.23 0.05 0.46 2.81 (0.00) 2.81

plastic and tape - 4 mil

99. Spot seal w/oil based/hybrid stain 1.00 EA 24.04 0.24 4.80 29.08 (1.64) 27.44

blocker

100. Paint more than the floor perimeter - 455.83 SF 0.88 8.89 80.22 490.24 (60.78) 429.46

two coats

101. Final cleaning - construction - 710.90 SF 0.13 0.00 18.48 110.90 (0.00) 110.90

Commercial

Totals: Private Dining Room Right 9.18 117.54 714.52 62.42 652.10

Debris Removal

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

102. Tandem axle dump trailer - per load - 1.00 EA 155.15 0.00 31.04 186.19 (0.00) 186.19

including dump fees

Totals: Debris Removal 0.00 31.04 186.19 0.00 186.19
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Parker Loss Consultants

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130 Chieftain Drive, Suite 102
Waxahachie, Texas 75165

Total: Main Level 135.64 1,333.34 8,470.72 502.94 7,967.78
Total: SKETCH2 135.64 1,333.34 8,470.72 502.94 7,967.78
Line Item Totals: OLYMPIC-ME $35.92 2,684.36 22,960.98 2,489.88 20,471.10
Grand Total Areas:
11,189.34 SF Walls 9,177.01 SF Ceiling 20,366.34 SF Walls and Ceiling
9,177.01 SF Floor 1,019.67 SY Flooring 1,243.45 LF Floor Perimeter
0,00 SF Long Wall 0.00 SF Short Wall 1,397.95 LF Ceil. Perimeter
9,177.01 Floor Area 9,563.39 Total Area 11,189.34 Interior Wall Area
12,316.35 Exterior Wall Area 913.01 Exterior Perimeter of
Walls
17,465.43 Surface Area 174.65 Number of Squares 0.00 Total Perimeter Length
287.25 Total Ridge Length 0.00 Total Hip Length

OLYMPIC_STEAKHOUSE-2

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Parker Loss Consultants

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130 Chieftain Drive, Suite 102
Waxahachie, Texas 75165

Summary for 01/01 Building

Line Item Total 19,740.70
Overhead 1,342.18
Profit 1,342.18
Material Sales Tax 535.92
Replacement Cost Value $22,960.98 |
Less Non-recoverable Depreciation <2,489.88>
Actual Cash Value $20,471.10
Less Coinsurance (2,843.44)
Less Deductible (2,500.00)
Net Claim $15,127.66
Casey Newport
| OLYMPIC _STEAKHOUSE-2 3/23/2021 Page: 13
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jay Document1-1 Filed 04/03/23 Page 40 of 65

Pagelk46

my, 300 Kimball Drive, Suite 500
A | ( Parsippany, NJ 07054
USA
8
T+1 201 947 8600

F +1201 847 1780
Toll Free +1 866 852 2990

November 1, 2021

Sent Via E-Mail
Olympic: Steakhouse & William Griffin ,

5711 Hwy 412
Bells, TN 38006

Re: Insured: Olympic Steakhouse
Claim No.: 164629

Loss Location: 5711 Hwy 412, Bells, TN 38006
Date of Loss: 02/17/2021
Policy No.: NPP8664937

Dear Olympic Steakhouse:

Freeze/Water Damage only at 5714 Hwy 412, Bells, TN 38006 is a covered loss.

Please show the adjuster's estimate to your contractor and have that person contact the
adjuster with any questions about Price or scope. Please notify us of any potential changes in

Scope or price. Unapproved changes will not be covered, ®
Summary for Building

[Replace nent Cost $ 32,839.70

Less Coinsurance $ 2,843.44

res Prior Payment $15,127.66

fess decluctible $ 2,500.00

Ne Clairn Payable $ SeRSEO |

A check for $12,368.60 has been authorized and will be sent to you separately.

lam the Property Claim Specialist employed by Western World Insurance, and the assigned claim

You have requested through your agent, Risk Placement Services, Inc. - Florence, that :
Western Worle! provide insurance Coverage for the claim referenced above. The purpose of this
letter is to notily you that we are denying Coverage for part of this claim,

FACTS OF THIS CLAIM

@ 2/23/2023 11:27:20 AM
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A PagelD 47

On February 24, 2021 you reported damage to the roof on 02/17/2021. Our inspection of the
building found no storm or weather related damage fo the roof. The roof damaged is due to wear
& tear over an extended period of time, not from this one event. This long term damaged appears
to be the result of inadequate or improper construction of the roofing material and pre-existing
damages. Uniortunately, Western World is unable to provide coverage or issue any payment for
this loss as it relates to the claim of damages to the roof from the freeze, as the damage observed
is either excluded under the policy or was not caused by a covered cause of loss.

WESTERN WORLD’S COVERAGE POSITION

Please refer to page 1 of your CP 00 10 06 07 BUILDING AND PERSONAL PROPERTY
COVERAGE FORM:

A. Coverage

We will pay for direct physical loss of or damage to Covered Property at the premises described in
the Declarations caused by or resulting from any Covered Cause of Loss.

9k
3. Covered Causes Of Loss

See applicable Causes Of Loss Form as shown in the Declarations.
ado

(We 'now ask that'y: ou.direct your atfention'fo page 4 ‘and 3 and'4 of your CP 10 30 06.07 Causes,
(of. Loss — Special Form:

A. Covered Causes Of Loss

When Special is shown in the Declarations, Covered Causes of Loss means Risks Of Direct
Physical Loss unless the loss is:

1. Excluded in Section B., Exclusions; or
ae Limited in Section C., Limitations;
that follow.
B Exclusions

1, We will not pay for loss or damage caused directly or indirectly by any of the
following. Such loss or damage is excluded regardless of any other cause or event
that contributes concurrently or in any sequence to the loss,

akag

2, We will not pay for loss or damage caused by or resulting from any of the
following:
hak teak

d. (1) Wear and tear;

(2) Rust or other corrosion, decay, deterioration, hidden or
latent defect or any quality in property that causes it to
damage or destroy itself

eR
f. Continuous or repeated seepage or leakage of water, or
the presence or condensation of humidity, moisture or

vapor, that occurs over a period of 14 days or more.
take

3. We will not pay for loss or damage caused by or resulting from any
of the following, 3.a. through 3.c. But if an excluded cause of loss
that is listed in 3.a. through 3.c. results in a Covered Cause of Loss,
we will pay for the loss or damage caused by that Covered Cause
of Loss.

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c. Faulty, inadequate or defective:
oka

(2) Design, specifications, workmanship, —_repair,

construction, renovation, remodeling, grading,
compaction;

(3) Materials used in repair, construction,
remodeling: or

(4) Maintenance;

renovation or

of part or all of any Property on or off the described
premises.

C. Limitations

The following limitations apply to all policy forms and endorsements, unless otherwise stated,

1. We will not pay for loss of or damage to property,
section. In addition, we will not pay for any joss th
&s described and limited in this section.

as described and limited in this
at is a consequence of loss or damage

c. The interior of any building or structure, or to Personal property in the building or structure,
caused by or resulting from rain, snow, sleet, ice, sand or dust, whether driven by wind or not,
unless:

(1) The building or structure first Sustains damage by a Covered Cause of Loss to its roof or
walls through which the rain, snow, sleet, ice, sand or dust enters; or

(2) The loss or damage is caused by or results from thawing of snow, sleet or ice on the building
or structure.

The coverage issues that we have now investi

of Loss — Special Form’s above quoted B.2.d(1 & 2) (Exclusion for wear.and. tear, decay ‘or,
@eierioration, 8-2.f Continuc Sef 8

inadequate cr_défective design, w. por c
(u nable to provide coverage:or issue any payment for this loss!

We expressly reserve the right to assert any and all additional rights and defenses which a
further investigation may reveal to be applicable for the loss claim. If you intend to proceed
with litigation, strict compliance with the policy provisions will be required. No suit or action may
be brought against us unless there has been full compliance with the policy terms. The

Company does not waive any provisions or stipulation of the Policy or waive any right or
defense under such Policy whether or not identified above.

Hopefully, this letter has provided you with a clear explanation of our position regarding your
insurance coverage for this claim. However, if you have any further questions concerning this
letter or your claim, please feel free to call me at your convenience at (972) 945-0040,

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Case 1:23-cv-

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1 am sorry that we were unable to reach a more favorable determination Concerning this claim

Sincerely,

Ludwig Blake
Ludwig Blake
Property Claims Specialist

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see.
Sn es
en rere penn nrnemmmte

cee ete ne eee
shee epee ene ee

WJSIHELD J.S. Held

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Steve Nash | Director

J.S. Held LLC

1441 New Hwy 96 W, Ste 2, 202, Franklin, TN 37064
Mobile 615-478-2430

Insured: Olympic Steakhouse
Property: 5711 Hwy 412
Bells, TN 38006

Estimator: Steve Nash Business: (615) 478-2430
Company: J. S. Held E-mail: snash@jsheld.com
Claim Number: 164629 Policy Number: Type of Loss: Freeze

Date Contacted: 9/30/2021 12:00 AM
Date of Loss: 2/17/2021 12:00 AM Date Received: 9/30/2021 12:00 AM
Date Inspected: — 10/8/2021 12:00 AM Date Entered: — 10/12/2021 9:05 AM

Price List: = TNJA8X_FEB21
Restoration/Service/Remodel
Estimate: 21092950 OLYMPIC

This opinion reflects J. S. Held's assumption of the pre-loss configuration, The pricing contemplates the use of contemporary
materials of "like, kind and quality", Furthermore, this evaluation is governed by the following assumptions and exclusions.

Assumptions:

- Information and documentation received and reviewed to date .

- Access to be provided in an unimpeded manner/fashion to the General Contractor.

- Work is to be performed on a continuous basis over the period shown on the attached preliminary schedule.

- Scope and cost are based on known information to date.

Exclusions:

- Testing and handling of hazardous materials.

- Unspecified Code Upgrades MISREPRESENTATIONS OF COVERAGE
- Fees to attach to city utility systems. TERMS AND INSURED

~ Fees to expedite design or permits. RESPONSIBILITIES.

- Accelerated construction periods and overtime.

- Site improvements,

- Other structures,

- Contents.

- Structural fill or fill to raise building compound above flood plain
- Preparation of subsurface for structural support

This estimate is subject to review by the Insurance Carrier(s) per contract/policy terms and conditions.
IS. Held recommends that all costs that are anticipated to be part of the claim are submitted for review
Prior to executing contracts. To the extent that repair costs proceed on a time and materials basis, we
recommend that that the adjustment team monitor these repairs and that the insured keep appropriate
records, sign in sheets and documentation of these repairs.

This document is prepared for the adjustment team. Reliance upon this document are for the sole use of
the intended recipients. J.S. Held LLC reserves the right to change their opinion should further
information become available following the preparation of this presentation.

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Steve Nash | Director
JS. Held LLC

1441 New Hwy 96 W, Ste 2, 202, Franklin, TN 37064

Mobile 615-478-2430

21092950 _ OLYMPIC

Furniture Store

© ©

i Showroom Height: 8'
IT
| 7 1397.33 SF Walls 1641.98 SF Ceiling
He 4= 3039.32 SF Walls & Ceiling 1641.98 SF Floor
Sf & Showroom j 182.44 SY Flooring 174.67 LF Floor Perimeter
174.67 LF Ceil. Perimeter |
_=——_—
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC, ACV
1. Suspended ceiling tile - High grade - 2' 410.50 SF 2.54 73.64 223.26 1,339.57 (74.42) 1,265.15
x x
Batt insulation - 10" - R30 - paper / foil 410.50 SF 1.29 38.02 113.52 681.09 (37.83) 643.26
aa
3. Clean floor 1,641.98 SF 0.32 0.00 105.08 630.51 (0.00) 630.51
4, Final cleaning - construction - 1,641.98 SF 0.13 0.00 42.70 256.16 (0.00) 256.16
Commercial
© Totals: Showroom 111.66 484.56 2,907.33 112.25 2,795.08
4 |
Bedroom 1 Height: 8'
| 281.33 SF Walls 76.53 SF Ceiling
iilimoen' L 357.86 SF Walls & Ceiling 76.53 SF Floor
8.50 SY Flooring 35.17 LF Floor Perimeter |
35.17 LF Ceil. Perimeter
|_—
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
5. Suspended ceiling tile - High grade - 2' 24.00 SF 2.54 4.31 13.06 78.33 (4.35) 73.98
x2!
6. Batt insulation - 10" - R30 - paper / foil 24,00 SF 1.29 2.22 6.64 39.82 (2.21) 37.61
faced
7. Clean floor 76.53 SF 0.32 0.00 4.90 29.39 (0.00) 29,39
8. Final cleaning - construction - 76.53 SF 0.13 0.00 2.00 11,95 (0,00) 11,95
Commercial
Totals: Bedroom 1 6.53 26.60 159.49 6.56 152.93
21092950 OLYMPIC 10/27/2021 Page: 2
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W)JS|HELD J.-S. Held

Steve Nash | Director

J.S. Held LLC

1441 New Hwy 96 W, Ste 2, 202, Franklin, TN 37064
Mobile 615-478-2430

= Bedroom 2 Height: 8!
| 312.00 SF Walls 91.70 SF Ceiling |
Bedroom? &If = 403.70 SF Walls & Ceiling 91.70 SF Floor
j 10.19 SY Flooring 39.00 LF Floor Perimeter
39.00 LF Ceil. Perimeter
—s TT

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC, ACV
9, Suspended ceiling tile - High grade - 2' 24.00 SF 2.54 4.31 13.06 78.33 (4.35) 73.98
x2"
10. Batt insulation - 10" - R30 - paper / foil 24.00 SF 1.29 2.22 6.64 39.82 (2.21) 37.61
faced
11. Clean floor 91.70 SF 0.32 0.00 5.86 35.20 (0.00) 35.20
12. Final cleaning - construction - 91.70 SF 0.13 0.00 2.38 14.30 (0.00) 14.30
Commercial
Totals: Bedroom 2 6.53 27.94 167.65 6.56 161.09

Bathroom Height: 8' & eS
281.33 SF Walls 76.53 SF Ceiling |
357.86 SF Walls & Ceiling 76.53 SF Floor |
8.50 SY Flooring 35.17 LF Floor Perimeter
35.17 LF Ceil. Perimeter
!

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
13, Suspended ceiling tile - High grade - 2! 24.00 SF 2.54 431 13.06 78.33 (4.35) 73.98
x2’
14. Batt insulation - 10" - R30 - paper / foil 24,00 SF 1.29 2.22 6.64 39.82 (2.21) 37.61
faced
13, Clean floor 76.53 SF 0.32 0,00 4.90 29.39 (0.00) 29,39
16. Final cleaning - construction - 76.53 SF 0.13 0.00 2.00 11,95 (0.00) 11.95
Commercial
Totals: Bathroom 6.53 26.60 159.49 6.56 152.93
21092950 OLYMPIC 10/27/2021 Page: 3 |
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WJS|HELD J.S. Held

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Steve Nash | Director

J.S. Held LLC

1441 New Hwy 96 W, Ste 2, 202, Franklin, TN 37064
Mobile 615-478-2430

Room3 Height: 8'
rs 548.92 SF Walls 204.25 SF Ceiling
! 26 3* FH] | ns
4 ase’ a 753.17 SF Walls & Ceiling 204.25 SF Floor
l Li! 22.69 SY Flooring 68.62 LF Floor Perimeter
| 68.62 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV |
17. Suspended ceiling tile - High grade - 2" 24.00 SF 2.54 4.31 13.06 78.33 (4.35) 73.98
x2'
18. Batt insulation - 10" - R30 - paper / foil 24.00 SF 1.29 2.22 6.64 39,82 (2.21) 37.61
faced
|
19. Clean floor 204.25 SF 0.32 0.00 13.08 78.44 (0.00) 78.44
20. Final cleaning - construction - 204.25 SF 0.13 0.00 3.32 31.87 (0.00) 31.87
Commercial
Totals: Room3 6.53 38.10 228.46 6.56 221.90
—_—= :
& | ist 4" Breakroom Height: 8' | @
690.67 SF Walls 426.78 SF Ceiling
Breakroom 24 © 1117.44 SF Walls & Ceiling 426.78 SF Floor
Vi 47.42 SY Flooring 86.33 LF Floor Perimeter |
86.33 LF Ceil, Perimeter
| DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV |
21. Suspended ceiling tile - High grade - 2" 24.00 SF 2.54 4.3] 13.06 78.33 (4.35) 73.98 |
x2'
22. Batt insulation - 10" - R30 - paper / foil 24.00 SF 1.29 2.22 6.64 39,82 (2.21) 37.61
faced
23. Clean floor 426.78 SF 0.32 0.00 27.32 163.89 (0.00) 163.89
24. Final cleaning - construction - 426.78 SF 0.13 0.00 11.10 66.58 (0.00) 66.58
Commercial
| Totals: Breakroom 6.53 $8.12 348.62 6.56 342.06
|
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J.S. Held

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Steve Nash | Director

J.S. Held LLC

144] New Hwy 96 W, Ste 2, 202, Franklin, TN 37064
Mobile 615-478-2430

Rear Furniture Storage

Height: 8'

© ©

sy" I 598.67 SF Walls 235.33 SF Ceiling
tana tie, x 834.00 SF Walls & Ceiling 235.33 SF Floor
Ui 26.15 SY Flooring 74.83 LF Floor Perimeter
74.83 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
25. Suspended ceiling tile - High grade - 2' 58.83 SF 2.54 10.55 32.00 191.98 (10.66) 181.32
x2!
26. Batt insulation - 10" - R30 - paper / foil 58.83 SF 1.29 5.45 16.28 97.62 (5.42) 92.20
faced
27. Clean floor 235.33 SF 0.32 0.00 15.06 90.37 (0.00) 90.37
28. Final cleaning - construction - 235.33 SF 0.13 0.00 6.12 36.71 (0.00) 36.71
Commercial
Totals: Rear Furniture Storage 16.00 69.46 416.68 16.08 400.60
Total: Furniture Store 160.31 731.38 4,387.72 161,13 4,226.59
Steakhouse
15°"
34° 6° Buffet Area Height: 8'
1138.67 SF Walls 1265.00 SF Ceiling
ote Are ds 2403.67 SF Walls & Ceiling 1265.00 SF Floor
: 140.56 SY Flooring 142.33 LF Floor Perimeter
142.33 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
29. Suspended ceiling tile - High grade - 2' 316.25 SF 2.54 56.74 172.00 1,032.02 (57.33) 974.69
x2"
30. Batt insulation - 10"-R30- paper / foil 316.25 SF 1.29 29.29 87.46 524.71 (29.15) 495.56
faced
31, Clean floor 1,265.00 SF 0.32 0.00 80.96 485.76 (0.00) 485.76
32. Final cleaning - construction - 1,265.00 SF 0.13 0.00 32.90 197.35 (0.00) 197.35
Commercial
Totals: Buffet Area 86.03 373.32 2,239.84 86.48 2,153.36
21092950 OLYMPIC 10/27/2021 Page: 5
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WDIS|HELD J.S. Held

Steve Nash | Director

J.S. Held LLC

1441 New Hwy 96 W, Ste 2, 202, Franklin, TN 37064

Mobile 615-478-2430

ii Steakhouse Pantry Height: 8'
586.67 SF Walls 333.86 SF Ceiling
Sie 4: 920.53 SF Walls & Ceiling 333.86 SF Floor
| 37.10 SY Flooring 73.33 LF Floor Perimeter
| 73.33 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
33. Suspended ceiling tile - High grade - 2' 16.00 SF 2.54 2.87 8.70 52.21 (2.90) 49.31
x2'
34. Batt insulation - 10" - R30 - paper / foil 16.00 SF 1,29 1.48 4.42 26.54 (1.48) 25.06
faced
35. Clean floor 333.86 SF 0,32 0.00 21.36 128.20 (0.00) 128.20
36. Final cleaning - construction - 333.86 SF 0.13 0.00 8.68 52.08 (0.00) 52.08
Commercial
Totals: Steakhouse Pantry 4.35 43.16 259.03 4.38 254.65
ae — Dining Room 1 Height: 8' &
1437.33 SF Walls 1742.50 SF Ceiling
witnge naar © 3179.83 SF Walls & Ceiling 1742.50 SF Floor
if 193.61 SY Flooring 179.67 LF Floor Perimeter
| 179.67 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
37. Suspended ceiling tile - High grade - 2' 44,00 SF 2.54 7.89 23.94 143.59 (7.98) 135.61
x2'
38. Batt insulation - 10" - R30 - paper / foil 44.00 SF 1.29 4.08 12.18 73,02 (4.05) 68.97
faced
39, Final cleaning - construction - 1,742.50 SF 0.13 0,00 45.30 271,83 (0.00) 271.83 |
Commercial
40. Clean floor 1,742.50 SF 0.32 0.00 111.52 669.12 (0.00) 669,12
Totals: Dining Room 1 11.97 192,94 1,157.56 12.03 1,145.53
21092950 OLYMPIC 10/27/2021 Page: 6

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Steve Nash | Director

JS. Held LLC

1441 New Hwy 96 W, Ste 2, 202, Franklin, TN 37064
Mobile 615-478-2430

= ;
icf Bining Room Hf 4

Dining Room 2

Height: 8"

997.17 SF Walls
1922.27 SF Walls & Ceiling
102.79 SY Flooring

124.65 LF Ceil. Perimeter

925.10 SF Ceiling
925.10 SF Floor
124.65 LF Floor Perimeter

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DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

41. Suspended ceiling tile - High grade - 2' 40.00 SF 2.54 718 21.76 130.54 (7.25) 123.29

x2'

42. Batt insulation - 10" - R30 - paper / foil 40.00 SF 1.29 3.71 11.06 66.37 (3.69) 62,68

faced

43, Clean floor 925.10 SF 0.32 0.00 59.20 355.23 (0.00) 355.23

44, Final cleaning - construction - 925.10 SF 0.13 0.00 24.06 144.32 (0.00) 144.32

Commercial

Totals: Dining Room 2 10.89 116.08 696.46 10.94 685.52
@ eS Dining Room 3 Height: 8"

1248.00 SF Walls 1358.44 SF Ceiling
ratty eben 2606.44 SF Walls & Ceiling 1358.44 SF Floor
150.94 SY Flooring 156.00 LF Floor Perimeter
156.00 LF Ceil. Perimeter

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

45. Suspended ceiling tile - High grade - 2' 24.00 SF 2.54 4.31 13.06 78.33 (4.35) 73.98

x2’

46. Batt insulation - 10" - R30 - paper / foil 24,00 SF 1.29 2:22 6.64 39.82 (2.21) 37.61

faced

47. Clean floor 1,358.44 SF 0.32 0.00 86.94 521.64 (0.00) 521.64

48. Final cleaning - construction - 1,358.44 SF 0.13 0.00 35.32 211.92 (0.00) 211.92

Commercial

Totals: Dining Room 3 6.53 141.96 $51.71 6.56 845.15

Total: Steakhouse 119.77 867.46 5,204.60 120.39 §,084.21

Storage
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Steve Nash | Director
JS. Held LLC

1441 New Hwy 96 W, Ste 2, 202, Franklin, TN 37064

Mobile 615-478-2430

a Furniture Storage

Height: 8'

1120.08 SF Walls

2125.30 SF Walls & Ceiling
111.69 SY Flooring
140.01 LF Ceil. Perimeter

1005.22 SF Ceiling
1005.22 SF Floor
140.01 LF Floor Perimeter

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
49. Suspended ceiling tile - High grade - 2' 44.00 SF 2.54 7.89 23.94 143.59 (7.98) 135.61
x2!
50. Batt insulation - 10" - R30 - paper / foil 44.00 SF 1.29 4.08 12.18 73.02 (4.05) 68,97
faced
51. Drywall patch / small repair, ready for 1.00 EA 64.42 0.27 12.94 77.63 (4.31) 73.32
paint
Access needed to repair a water line.
52. Seal/prime then paint more than the 398.67 SF 0.87 6.22 70.60 423.66 (235,38) 188.28
room length (2 coats)
53. Clean floor 1,005.22 SF 0.32 0.00 64.34 386.01 (0.00) 386.01
54. Final cleaning - construction - 1,005.22 SF 0.13 0.00 26.14 156.82 (0.00) 156.82
Commercial
Totals: Furniture Storage 18.46 210.14 1,260.73 251.72 1,009.01
Total: Storage 18.46 210.14 1,260.73 251.72 1,009.01
Salon
iy —
38° 2" Salon Height: 8'
1408.00 SF Walls 1901.97 SF Ceiling
Sean : © 3309.97 SF Walls & Ceiling 1901.97 SF Floor
ii 211.33 SY Flooring 176.00 LF Floor Perimeter
| 176.00 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC, ACV
55. Suspended ceiling tile - High grade - 2' 40,00 SF 2.54 718 21.76 130,54 (7.25) 123.29
2!
56, Batt insulation - 10" - R30 - paper / foil 40.00 SF 1.29 3.71 11.06 66.37 (3.69) 62.68
faced
57. Clean floor 1,901.97 SF 0.32 0.00 121.72 730.35 (0.00) 730.35
58. Final cleaning - construction - 1,901.97 SF 0.13 0.00 49.46 296.72 (0.00) 296.72
Commercial
Totals: Salon 10.89 204.00 1,223.98 10.94 1,213.04
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Steve Nash | Director

JS. Held LLC

1441 New Hwy 96 W, Ste 2, 202, Franklin, TN 37064
Mobile 615-478-2430

Total: Salon 10,89 204.00 1,223.98 10.94 1,213.04
Mexcian Resturant
163 Mexican Rst.Storage Height: 8"
162
437.33 SF Walls 180.53 SF Ceiling
| = Mexican RstStonge 3 = 617.86 SF Walls & Ceiling 180.53 SF Floor
i] LL 20,06 SY Flooring 54.67 LF Floor Perimeter
| = 54.67 LF Ceil. Perimeter
16" 10" ~
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC, ACV
59. Suspended ceiling tile - High grade - 2' 45.13 SF 2.54 8.10 24.54 147.27 (8.18) 139.09
a2
60. Batt insulation - 10" - R30 - paper / foil 45.13 SF 1.29 4.18 12.48 74.88 (4.16) 70.72
faced
61. 5/8" drywall - hung, taped, floated, 129.33 SF 2.12 6.94 56.22 337.34 (18.74) 318.60
ready for paint
The back exterior wall has been exposed to moisture several times and needs to be replaced.
& 62. Batt insulation - 6"-R19-paper/foil 129.33 SF 0.90 7.94 24.86 149.20 (8.29) 140.91
faced
63. Seal/prime then paint the walls (2 coats) 437.33 SF 0.87 6.82 77.46 464,76 (258.20) 206.56
64. Clean floor 180.53 SF 0.32 0.00 11.56 69.33 (0.00) 69.33
65. Final cleaning - construction - 180.53 SF 0.13 0.00 4.70 28.17 (0.00) 28.17
Commercial
Totals: Mexican Rst.Storage 33.98 211.82 1,270.95 297,57 973.38
Mexican Rst. Kitchen Height: 8'
st ie “il 602.67 SF Walls 273.69 SF Ceiling
T
oni Mexican Rst. Kitchen © 876.36 SF Walls & Ceiling 273.69 SF Floor
ili 30.41 SY Flooring 75.33 LF Floor Perimeter
wwe 75.33 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
66. Suspended ceiling tile - High grade - 2’ 91.23 SF 2.54 16.37 49.62 297.71 (16.54) 281.17
x2!
67. Batt insulation - 10" - R30 - paper / foil 91.23 SF 1.29 8.45 25.24 151.38 (8.41) 142.97
faced
68. Clean floor 273.69 SF 0.32 0.00 17.52 105.10 (0.00) 105,10
69. Final cleaning - construction - 273.69 SF 0.13 0.00 7A2 42.70 (0.00) 42.70
Commercial
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Steve Nash | Director

JS. Held LLC

1441 New Hwy 96 W, Ste 2, 202, Franklin, TN 37064

Mobile 615-478-2430

CONTINUED - Mexican Rst. Kitchen
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
Totals: Mexican Rst. Kitchen 24,82 99.50 $96.89 24.95 571.94
Total: Mexcian Resturant 58.80 311.32 1,867.84 322,52 1,545.32
STOREFRONT CANOPY
Exterior
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
Front of building.
70. R&R Wall/roof panel - ribbed - 26 300,00 SF 3.71 37.73 230.14 1,380.87 (137.03) 1,243.84
gauge - 1 1/8" to 1 1/2"
Metal siding on the false fascia was damaged when the awning was displaced.
® 71. R&R Outside/Inside corner - 29 gauge 8.00 LF 5.64 1.72 9.36 56.20 (3.81) $2.39 ® @
72. Eave trim for metal roofing - 29 gauge 78.00 LF 3.06 9.81 49.70 298.19 (33.13) 265.06
73. R&R Metal J trim - metal building 78.00 LF 4.01 8.90 64,32 386.00 (24.91) 361.09
74, Soffit - metal/vinyl - Detach & reset 156.00 SF 1.68 0.30 52.48 314,86 (0.00) 314.86
75. Prime & paint exterior soffit * 404.00 SF 2.05 14.57 168.56 1,011.33 (561.84) 449.49
76. Prime & paint metal siding 808.00 SF 0.84 20.48 139.84 839.04 (466.13) 372.91
77. Mask the surface area per square foot- 3,232.00 SF 0.23 15.76 151.84 910.96 (506.08) 404.88
plastic and tape - 4 mil
Masking to protect the roof and storefront from paint over spray.
78. Detach & Reset Exterior light fixture 17.00 EA 59.42 0.00 202.02 1,212.16 (0.00) 1,212.16
79. Exterior light fixture - High grade 4.00 EA 113.75 29.25 96.86 581.11 (242.13) 338.98
Lights damaged and displaced.
80. R&R Gutter / downspout - aluminum - 64.00 LF 5.47 18.16 73.64 441.88 (136.80) 305.08
up to 5"
Downspouts
81. R&R Gutter / downspout - aluminum - 78.00 LF 14,92 93.09 251.38 1,508.23 (489.95) 1,018.28
7" to 8"
82. Prime & paint gutter / downspout 394.00 LF 1.52 9.60 121.70 730.18 (405.65) 324.53
Rear of building.
83. Eave trim for metal roofing - 29 gauge 120.00 LF 3.06 13.09 76.46 458.75 (50.97) 407.78
84. R&R Gutter / downspout - aluminum - 120.00 LF 14.92 143.21 386.72 2,320.33 (753.76) 1,566.57
7" to 3"
85. R&R Gutter / downspout - aluminum - 84.00 LF 5.47 23.83 96.64 579,95 (179.55) 400.40
up to 5"
Downspouts
86. Prime & paint gutter / downspout 204.00 LF 1,52 4.97 63.02 378.07 (210,03) 168.04
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Steve Nash | Director
J.S. Held LLC

| 144] New Hwy 96 W, Ste 2, 202, Franklin, TN 37064

Mobile 615-478-2430

CONTINUED - Exterior

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
87. Mask the surface area per square foot- 1,250.00 SF 0.23 6.09 58.72 352.31 (195.73) 156.58
plastic and tape - 4 mil
88. Prime & paint metal siding 808.00 SF 0.84 20.48 139.84 839.04 (466.13) 372.91
89. Soffit - vinyl 130.00 SF 3.77 24,08 102.84 617.02 (102.84) 514.18 |
90, Prime & paint exterior soffit * 240.00 SF 2.05 8.66 100.14 600.80 (333.77) 267.03 |
| 91. R&R Metal J trim - metal building 78.00 LF 4.01 8.90 64.32 386,00 (24.91) 361.09 |
Totals: Exterior $14.68 2,700.54 16,203.28 5,325.15 10,878.13
General Conditions
| DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC, ACV |
92. Tandem axle dump trailer - per load - 1.00 EA 155.15 0.00 31.04 186.19 (0.00) 186.19
| including dump fees
93. Temporary toilet (per month) 2.00 MO 109.00 0.00 43.60 261.60 (0.00) 261.60
94. Cleaning Technician - per hour 20.00 HR 30.78 0.00 123.12 738.72 (0.00) 738.72
Labor hours to keep the walkways and parking lot clean during construction.
93. Commercial Supervision / Project 20,00 HR 62.71 0.00 250.84 1,505.04 (0.00) 1,505.04
Management - per hour
Labor hours to set up all the trades and order materials.
Totals: General Conditions 0.00 448.60 2,691.55 0.00 2,691.55
Line Item Totals: 21092950 OLYMPIC 882.91 5,473.44 32,839.70 6,191.85 26,647.85
|
Grand Total Areas:
14,322.17 SF Walls 12,809.35 SF Ceiling 27,131.52 SF Walls and Ceiling
12,809.35 SF Floor 1,423.26 SY Flooring 1,790.27 LF Floor Perimeter
0.00 SF Long Wall 0.00 SF Short Wall 1,790.27 LF Ceil. Perimeter |
|
12,809.35 Floor Area 13,392.65 Total Area 14,322.17 Interior Wall Area
16,046.36 Exterior Wall Area 1,706.88 Exterior Perimeter of
Walls
11,646.24 Surface Area 116.46 Number of Squares 646.36 Total Perimeter Length |
265.96 Total Ridge Length 0.00 Total Hip Length
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Steve Nash | Director
J.S. Held LLC

1441 New Hwy 96 W, Ste 2, 202, Franklin, TN 37064

Mobile 615-478-2430

Line Item Total
Material Sales Tax

Subtotal
Overhead
Profit

Replacement Cost Value
Less Depreciation

Actual Cash Value
Net Claim

Total Recoverable Depreciation

Less Coinsurance
Less Deductible

Net Claim if Depreciation is Recovered

Summary for Dwelling

Steve Nash

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26,483.35
882.91

27,366.26
2,736.72
2,736.72

$32,839.70
(6,191.85)

$26,647.85
$26,647.85

6,191.85 |

(2,843.44) |
(2,500.00) |

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736 MARKET STREET
SUITE 1320

(} CARR ALLISON

ALABAMA | FLORIDA | GEORGIA | MISSISSIPPI | TENNESSER OHATTANOOGA, TN 37402

TEL: 423.648.9899
FAX! 423.648.9869
CARRALLISON.COM

Jordan D. Watson
Direct Dial (423) 648-980]
jwatson@carrallison.com

February 9, 2023
. Sent via E-mail
William Saveh
Olympic Steakhouse
5711 Hwy 412
Bells, TN 38006
williacob195@vahoo.com
RE: Insured: Olympic Steakhouse
Claim No: 164629
Loss Location: 5711 Hwy 412, Bells, TN 38006
Date of Loss: 02/17/2021
Dear William Saveh:
This letter is to inform you that the law firm of Carr Allison represents Western World ®

Insurance Company (“Western World”) in regards to the above-referenced claim, Western World
acknowledges receipt of your January 27, 2023, demand for appraisal with respect to the above-
referenced claim. Please refer to the appraisal provision of the Policy NPP8664937:

E. Loss Conditions

2. Appraisal. If we and you disagree on the value of the property or the amount
of loss, either may make written demand for an appraisal of the loss. In this
event, each party will select a competent and impartial appraiser. The two
appraisers will select an umpire. If they cannot agree, either may request that
selection be made by a judge of a court having jurisdiction. The appraisers
will state separately the value of the property and the amount of loss. If they
fail to agree, they will submit their differences to the umpire. A decision
agreed to by any two will be binding. Each party will:

a. Pay its chosen appraiser; and
b. Bear the other expenses of the appraisal and umpire equally.

If there is an appraisal, we will still retain our right to deny the claim.

After reviewing the estimate provided to us on September 24, 2021, and comparing it to
the Western World estimate and partial denial provided on November 16, 2021, we determined

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provision in the policy is to resolve di
(deierminéd were covered)
damages. See Merrimack My

erase ll sporaisl ofthe propety would noi be approp iate at this point given the!
\coverage Issues; The appraisers and umpire have no authority to decide questions of coverage,

Accordingly, appraisal will only be conducted on the items of which both parties agree arc
covered. We designate our appraiser as follows:

Randy Ison} _
(614-989-1406) _ oy
ison@jsheld: com:

Westem World is not waiving any of the poli

cy provisions, conditions, exclusions, or
limitations, all of which are reserved.

Ifyou have any questions regarding theappraisal process or the content of this letter, please
contact me at the information provided above.

Very tryly yoyrs,

Jordan Watson

ce: William Griffin axillj

Wesley Hisaw - iwhisaw/@hollandlaw net

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